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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


SUTURE EXPRESS, INC.,

               Plaintiff,
                                                     Case No. 12-2760-DDC-KGS
v.

OWENS & MINOR DISTRIBUTION,
INC., AND CARDINAL HEALTH 200,
LLC,

               Defendants.


                        AMENDED MEMORANDUM AND ORDER

        NOTICE: On March 3, 2016, the Court entered a Sealed Memorandum and Order (Doc.
310) ruling on the parties’ summary judgment motions. The Court also entered a Notice of
Unsealing and Order (Doc. 312) that advised the parties that the Court intended to unseal the
entire Memorandum and Order unless the parties filed a notice identifying the portions of the
Memorandum and Order that qualify to remain under seal. In response to the Court’s order, the
parties filed a Joint Notice of Portions of Memorandum and Order to Redact (Doc. 318). The
Court has considered the parties’ submissions and issues this Amended Memorandum and Order.
As identified below, the Court has removed certain references to specific customers and
membership associations and confidential business information identified in the sealed version of
the Memorandum and Order because the parties have demonstrated that “countervailing interests
heavily outweigh the public interests in access.” Mann v. Boatright, 477 F.3d 1140, 1149 (10th
Cir. 2007) (citation and internal quotation marks omitted). Moreover, the Court does not find the
identity of these entities and the specific confidential business information essential to its
analysis. Instead, the Court references these entities and information generically in this
publically-filed Amended Memorandum and Order. If the specific identities of the entities or
confidential business information should become important to the analysis at some later stage of
the proceedings, the sealed Memorandum and Order (Doc. 310) contains them.

       This case arises under federal and state antitrust laws. Plaintiff Suture Express, Inc.

(“Suture Express”) alleges that defendants Owens & Minor Distribution, Inc. (“O&M”) and

Cardinal Health 200, LLC (“Cardinal”) have violated antitrust laws by tying and bundling the

sale of suture and endomechanical (“endo”) distribution to the sale of other medical-surgical

(“med-surg”) distribution. This matter comes before the Court on defendants O&M and

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Cardinal’s Motion for Summary Judgment (Doc. 253) and plaintiff Suture Express’ Partial

Motion for Summary Judgment (Doc. 254). After considering the parties’ arguments, the Court

grants defendants’ Motion for Summary Judgment and denies Suture Express’ Partial Motion for

Summary Judgment.

       I.      Undisputed Facts

The following facts are either stipulated by the parties in the Pretrial Order (Doc. 251), or are

uncontroverted.

       Med-Surg Product Distribution

       Med-surg products are single-use, disposable products that healthcare providers use on a

regular basis. Thousands of med-surg products exist. They fall into about 30 categories that

include, for example, custom surgical kits, packs and trays, IV sets and solutions, wound staples,

gloves, bedpans, hospital gowns, woven and nonwoven goods, needles and syringes, sutures,

endosurgical and endoscopic products, respiratory products, adhesives, bandages, dressings and

sponges, and incontinence products.

       Suture Express distributes only two categories of med-surg products to healthcare

providers: sutures and endo products. Suture Express also provides distribution services to

health care providers, including clinics, ambulatory surgery centers, and acute care facilities.

       O&M and Cardinal are “broadline distributors” of med-surg products, which means that

they distribute a full line of med-surg products in the 30 categories to healthcare providers. This

includes suture and endo products. O&M and Cardinal are two of three national broadline

distributors in the United States. The third national broadline distributor is Medline Industries,

Inc. (“Medline”), which is not a party to this case. O&M and Cardinal, when measured by sales

volume, are the two largest distributors of med-surg products to acute care providers in the



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United States. Cardinal currently distributes more than 300,000 med-surg products. O&M

distributes more than 220,000 med-surg products.

       Broadline Distributors

       National broadline med-surg distributors, like O&M and Cardinal, acquire med-surg

products in bulk from the manufacturers of those products. They store, keep in inventory, and

distribute those products to healthcare providers through a network of distribution centers spread

across the country. The distribution centers are large warehouse-like facilities that, typically, are

located within several hours’ drive from any given customer’s hospital. O&M operates 43

distribution centers nationwide; Cardinal operates 48.

       O&M and Cardinal staff each of their local distribution centers with warehouse personnel

who pick, pack, and load products onto pallets and then onto trucks, which deliver the products

to customers on a regular schedule. O&M and Cardinal use fleets of trucks to make those

deliveries. Truck delivery is the primary delivery method that O&M, Cardinal, and other

broadline distributors use for med-surg distribution.

       Distributors’ Relationships With Purchasers

       Healthcare providers may contract directly with one or more med-surg distributors. They

typically have a primary distributor who provides the large majority of their med-surg needs.

Some of O&M and Cardinal’s contracts define “primary distributor” to mean that the customer

purchases a contractually-specified percentage of med-surg (including suture and endo) from the

distributor. Also, healthcare providers sometimes use secondary distributors to fill other product

orders for a variety of reasons, including times when the primary distributor cannot provide a

requested product.




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       Healthcare providers also may belong to one or more Group Purchasing Organizations

(“GPOs”), Integrated Delivery Networks (“IDNs”), Regional Purchasing Cooperatives

(“RPCs”), member alliances, or other buying groups that have consolidated the purchasing

power of their members to negotiate contracts with one or more med-surg distributors. The

majority of acute healthcare providers are members of one or more GPOs. GPO members often

purchase med-surg distribution from a distributor under the terms of the GPO’s agreement with

that distributor. And GPO agreements often include volume discount tiers. Acute healthcare

providers evaluate, change, and join new GPOs in an effort to obtain more favorable contract

terms with med-surg distributors.

       RPCs and member alliances are coalitions of GPO members that join together to

negotiate contract terms with med-surg distributors. RPCs, member alliances, or even individual

hospitals sometimes negotiate for different terms than those found in GPO distribution contracts

accessible to them. These groups may enter into a “local contract” with a med-surg distributor,

which could represent an amendment to a national GPO contract or an entirely different contract.

       Alternatively, some hospital systems use a self-distribution strategy. This means that

they purchase products directly from manufacturers and perform distribution functions

themselves. Self-distribution customers still may use outside distributors for services that they

choose not to handle themselves. But some purchasers recognize the disadvantages of

purchasing med-surg products directly from a manufacturer instead of using a distributor. Using

a manufacturer instead of a distributor may increase a purchaser’s administrative and staff costs

because the purchaser must establish separate purchasing relationships with each manufacturer

and manage receipt of separate shipments from each manufacturer. In contrast, a purchaser who




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uses a distributor can purchase multiple manufacturers’ goods from that one distributor and

receive a shipment containing those goods from multiple manufacturers.1

       Some med-surg distributors testified in their depositions that healthcare providers have

consolidated recently, thereby creating larger hospital systems. This has consolidated buying

power, and, as some med-surg distributors testified, produced a more competitive marketplace.

       Revenues

       Med-surg distributors generate income from two sources: (1) funding paid by

manufacturers (“vendor funding”); and (2) “markups,” or distribution fees paid by purchasers.

Many manufacturers of med-surg products pay distributors various forms of vendor funding, and

generally, it is paid as a percentage of the underlying product cost.

       Med-surg distributors, including Cardinal, O&M, and Suture Express, acquire products

from manufacturers at a standard list price. Then, they charge most customers on a cost-plus

basis, which means that they add a negotiated, fixed percentage distribution fee (“cost-plus

markup”) to the product cost agreed to by the customer and the manufacturer.2 Sometimes,

O&M and Cardinal include the cost of freight in their cost-plus markup. Certain regional

distributors, such as Seneca Medical and MMS Inc., LLC, also offer cost-plus markup pricing.

As an alternative, some broadline distributors, including Cardinal and O&M, charge some

customers a service fee based on the specific distribution services received (“activity-based

fee”). The services covered by med-surg distribution contracts differ from customer to customer.

       Suture Express’ Entry into Suture and Endo Distribution

       Suture Express opened its business in 1998. It developed a business model to respond to

the differences between suture and endo distribution and other med-surg distribution. Sutures


1
       This description is a paraphrase of the parties’ Stipulated Fact No. 20 (Doc. 251-1 at 5).
2
       The parties recite these facts in Stipulated Fact No. 27 (Doc. 251-1 at 6).

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and endo products account for about 10% of the med-surg supplies distributed in the United

States to acute care providers. No acute care providers need just sutures and endo products but

no other med-surg products. And no acute care providers need other med-surg products but not

sutures and endo products. However, more stock keeping units (SKUs) exist for sutures than any

other category of med-surg products. And while suture and endo products are smaller and lighter

than most other med-surg products, they have a high-dollar value relative to their size and

weight. Because the products are lightweight and small volume—“low cube”—a distributor

easily can ship them in a FedEx box to an acute care provider.

        Suture Express has one, centralized warehouse located in Lenexa, Kansas. There, it

stocks a large variety of suture and endo SKUs, including “slower moving” SKUs. It ships those

products from its warehouse across the country via overnight delivery by FedEx (or by courier

within the Kansas City metropolitan area). Suture Express imposes no requirements on its

customers for order size or frequency. But typically it charges a separate freight fee. This fee is

often $7 per day/per location on top of its cost-plus markups. But Suture Express may charge

some customers less, more, or not at all for freight. When the $7 per freight fee is added, it

increases a customer’s actual distribution costs above the cost-plus markup, adding, on average,

one quarter of a percent (0.25 %) to the markup.

        Suture Express achieves high “fill rates” for its customers. A “fill rate” represents the

percentage of times that a distributor can fill a customer’s order on a timely basis. For example,

if a distributor ships nine of ten items a customer orders, then the fill rate for that particular

customer is 90%. Many acute care customers demand high fill rates for suture and endo

distribution. Historically, Suture Express has maintained a fill rate higher than 99%, and, in

many instances, has higher fill rates than O&M and Cardinal.



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        Market Definitions and Market Share

        Market definitions are an important piece of antitrust analysis. Here, the parties largely

agree on the summary judgment definitions of the relevant geographic and product markets.

They agree that: (1) the geographic market is national in scope, that is, limited to the United

States, and (2) the product market is for distribution of med-surg products to acute care

customers (i.e., hospitals).3

        Industry-wide med-surg (including suture and endo distribution) revenues increased year-

over-year during the relevant period, 2007 to 2012. From 2007 to 2012, O&M’s sales of other

med-surg products accounted for 32–38% of the total distribution of other med-surg products to

acute care customers. In 2012 (the last year for which data is available), O&M had 38% of those

sales. O&M attributes over half its growth during these five years to acquisitions of two smaller

distributors and the addition of two large hospital systems as customers. The remainder of

O&M’s growth came from acquiring new customers and organic growth from existing

customers. From 2007 to 2012, O&M’s sales accounted for 40–43% of the total sales of

distribution of suture and endo products to acute care customers. In 2012 (the last year for which

data is available), O&M had 42% of those sales.


3
         O&M and Cardinal do not dispute Suture Express’ Statement of Fact No. 34: “For purposes of
this case, the relevant markets are appropriately limited to distribution of Med-Surg products to acute care
customers (i.e., hospitals).” Doc. 269 at 21 (Suture Express’ Memo. in Support of Partial Summary
Judgment); Doc. 304 at 2 (stating that Suture Express’ Statement of Fact No. 34 is not disputed for
purposes of summary judgment).

         O&M and Cardinal assert in their summary judgment motion that the relevant market is for
distribution services, rather than the physical items themselves. Doc. 266 at 6; Doc. 303 at 6 (sealed
corrected version). Suture Express disputes this statement of fact, arguing that the relevant market is for
the distribution of physical items because meg-surg distributors provide the actual products in addition to
distribution-related services. Doc. 280 at 7. The Court views this statement of fact in the light most
favorable to Suture Express, as it must when it considers defendants’ motion for summary judgment. The
Court therefore concludes that the relevant market is the distribution of med-surg products. Moreover,
O&M and Cardinal fail to dispute that characterization of the relevant market in their response to Suture
Express’ motion for partial summary judgment.

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       From 2007 to 2012, Cardinal’s sales accounted for 27–31% of the total distribution of

other med-surg products to acute care customers. In 2012 (the last year for which data is

available), Cardinal had 27% of those sales. From 2007 to 2012, Cardinal’s sales accounted for

26–31% of the total distribution of suture and endo products to acute care customers. In 2012

(the last year for which data is available), Cardinal had 26% of those sales.

       Suture Express’ market share in the suture and endo distribution market has varied

between 8% and 10% from 2007 to 2012. In 2010, Suture Express’ market share was 10% but

decreased to 8% by 2012.

       O&M and Cardinal’s Implementation of Bundling Contract Terms

       Between 1998 and about 2008, Suture Express successfully grew its business. Both

O&M and Cardinal engaged in separate, internal communications about the increasing threat that

Suture Express, because of its superior fill rates and low pricing, posed to their businesses.

Around the same time, O&M and Cardinal adopted contractual terms that made pricing

contingent on a customer’s purchase of suture and endo distribution through them.

       Cardinal implemented these contractual terms in different ways. In some contracts,

Cardinal imposes markups on med-surg distribution unless the customer purchases 100% of its

suture and endo products from Cardinal. Other Cardinal contracts give Cardinal the right to

renegotiate the distribution markup and the payment terms provided in the contract if the

customer stops buying its suture and endo products from Cardinal. Yet other agreements provide

for higher markups on med-surg distribution if the customer reserves the right to purchase suture

and endo products from other distributors. And, some agreements make markups on med-surg

distribution contingent on the customer purchasing a certain percentage (in some cases, 95%) or

a minimum dollar amount (specifically tailored to that customer) of all med-surg products from



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Cardinal. Suture Express’ expert, Professor Einer Elhauge, calculated that almost 70% of

Cardinal’s contracts included at least one of the following contract terms: (1) an 80%+ med-surg

distribution purchase requirement, or (2) a suture and endo distribution volume purchase

requirement.

       Cardinal also included similar contract terms in standardized agreements that it

negotiated with GPOs. Currently, Cardinal’s standardized agreements with the five largest

GPOs have contingent pricing terms or impose markups if the customer fails to purchase a

certain percentage (in some cases 100%) of suture and endo distribution from Cardinal. Many of

Cardinal’s customers have not entered into individually-negotiated contracts. Instead, they have

purchased med-surg distribution from Cardinal under a GPO standardized agreement.

       O&M uses similar contract strategies. O&M includes contractual terms in its customer

agreements that allow O&M to increase the price charged for other med-surg distribution if the

customer switches suture and endo distribution to another distributor. For instance, one version

of O&M’s contracts imposed a markup on other med-surg distribution if the customer purchased

suture and endo distribution from a distributor other than O&M. Other O&M agreements

rendered markups on all med-surg distribution contingent on the customer purchasing a high

percentage of med-surg distribution from O&M. Other O&M agreements required the customer

to purchase a minimum amount (measured in dollars) of total med-surg distribution. That

minimum amount was tailored to that particular customer so that the customer would violate the

contract if it switched all of its suture and endo distribution to another distributor. And, in other

agreements, O&M made markups contingent on customers purchasing the top 10 Healthcare

Products Information Services categories (which include suture and endo) from O&M. Based on

his review of O&M contracts, Professor Elhauge opined that almost every agreement included a



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term allowing O&M to increase prices on other med-surg distribution if the customer switched

its suture and endo distribution to another distributor, such as Suture Express.

       O&M also included similar contract terms in standardized agreements that it negotiated

with GPOs. Many O&M customers who did not enter into individually-negotiated contracts

purchased med-surg distribution from O&M under a GPO standardized agreement. O&M’s

current standardized agreements with the five largest GPOs impose markups if the customer fails

to purchase a certain percentage of suture and endo distribution from O&M.

       Typically, O&M, Cardinal, and Suture Express’ contracts with customers have three to

five year terms. Many of O&M and Cardinal’s contracts include provisions allowing the

customer to terminate without cause after giving notice of six months or less. Although

customers may have the ability to change distributors under their contracts, customers have

described the process as a time consuming one and not insignificant. Those customers also

recognize the overhead costs and investment required to switch distributors. Despite the

complexity of switching distributors, about one-half of Cardinal’s acute care customers continue

to do business with Cardinal within three or four years of initiating the relationship. The same is

true for O&M.

       Effect of O&M and Cardinal’s Contract Terms as Analyzed by Plaintiff’s Expert

       Suture Express’ expert, Professor Elhauge, analyzed the contract terms for 102 of O&M

and Cardinal’s customers. He created this pool of sample contracts by identifying Cardinal’s 50

largest customers and O&M’s 52 largest customers. Together, these 102 customers account for

3,271 separate acute care facilities. The 50 Cardinal customers account for 53% of Cardinal’s

med-surg sales. And the 52 O&M customers account for 47% of O&M’s med-surg sales. After

reviewing these 102 contracts, Professor Elhauge concluded that between 2006 and 2013, O&M



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made about 98% of its suture and endo sales and Cardinal made about 71% of its suture and endo

sales under a contract containing one of the contractual terms described above—that is, one that

makes pricing contingent on the purchase of suture and endo distribution through them.

        Professor Elhauge also analyzed cost data produced by Cardinal to calculate the

minimum markup that an equally efficient suture and endo distributor would have to charge to

remain in the market. Professor Elhauge then used data about the contingent pricing terms in

Cardinal’s contracts to determine how often Cardinal’s incremental suture and endo markups fell

below the minimum markups. To put it another way, Professor Elhauge examined how often the

contract terms produced sales of suture and endo distribution products below cost. For Cardinal,

he concluded that customers with contracts containing the bundling provision paid an

incremental price lower than the minimum markup 67% of the time. For O&M customers4 with

such contracts, Professor Elhauge opined that the resulting incremental price was lower than the

minimum markup 85% of the time.

        Professor Elhauge also applied an economic test to determine whether bundled discounts

have the same economic effect as a tying arrangement. Applying that test, Professor Elhauge

used sales data from Suture Express, Cardinal, and O&M to calculate whether purchases of

Suture Express’ suture and endo distribution by customers who purchased other med-surg

distribution from O&M and Cardinal (i.e., customers who “broke the bundle”) are less than 10%

of the sum of those purchases plus purchases of defendants’ suture and endo distribution by




4
         O&M did not produce cost data sufficient for Professor Elhauge to perform a similar calculation
for its markups. So, Professor Elhauge relied on Cardinal’s cost data to perform the analysis for O&M.


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customers who accepted the bundle.5 Professor Elhauge determined that this ratio ranged from

3% to 7%, depending on the year.

        Professor Elhauge also examined Suture Express’ performance among defendants’

customers who had entered into contracts containing the bundling terms and compared them to

customers who were not bound by contracts containing the bundling terms. Professor Elhauge

determined that Suture Express’ market share among customers who had entered into contracts

with bundling terms ranged from 2% to 6% between 2006 and 2013, while its market share for

customers not bound by the contractual bundling terms ranged from 13% to 41% for the same

time period. From his conclusions, Suture Express’ market share among customers not subject

to the bundling terms (depending on the year) was four to 15 times greater than its share among

customers who were subject to bundling terms.

        Practical Effects of the Bundling Terms and Market Structure

        O&M and Cardinal have acknowledged that the bundling terms successfully prevented

Suture Express from selling suture and endo distribution to many of their customers. In a 2010

document, O&M noted that it has had some success defending against Suture Express by

bundling pricing for suture and endo with other med-surg products. In another document, O&M

recognized that customers subject to bundling will face higher prices if they choose to purchase

suture and endo distribution from Suture Express. Cardinal identified “contract obligations” as a

reason that one of its customers did not switch its business to Suture Express. Cardinal also

described a situation when a customer agreed to stop purchasing suture and endo from Suture

Express and move the business to Cardinal after Cardinal informed the customer of a

“compliance issue.” The Court understands Cardinal’s reference to this “compliance issue” to

5
       See Doc. 262-1 at 148 (Elhauge report at ¶ 154) (explaining that Professor Elhauge used this
formula because it is “a prominent economic test” used to determine if a bundled discount has the same
economic effect as tying (citing X Areeda, Elhauge, & Hovenkamp, Antitrust Law ¶ 1758b (1996)).

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mean that the customer was not complying with the bundling terms in its contract that required

the customer to purchase suture and endo from Cardinal to obtain certain pricing on other med-

surg distribution. Cardinal noted other situations when it had retained customers’ suture and

endo distribution purchases because of contractual requirements that effectively prevented the

customers from purchasing suture and endo distribution from other sources (including Suture

Express).

       Many customers have informed Suture Express that they understand that the bundling

terms in defendants’ contracts prevent them from purchasing suture and endo distribution from

Suture Express. Some customers stated that they could not purchase suture and endo distribution

from Suture Express because their contracts with defendants effectively prevented them from

doing so. Other customers moved their business away from Suture Express after signing

contracts with defendants containing the bundling terms. And some customers informed Suture

Express that any savings they realized by moving their business to Suture Express was offset by

the costs they incurred under their contracts’ bundling requirement. But, the bundling provisions

notwithstanding, some customers subject to such contractual terms continued to purchase suture

and endo distribution from Suture Express. For example, one Suture Express customer6 paid

increased prices on its med-surg distribution purchased from Cardinal because it failed to abide

by the suture and endo commitment requirement in its contract with Cardinal after it purchased

suture and endo distribution from Suture Express.

         Also, customers testified under subpoena about their decisions and how they made them

when entering into contracts with O&M, Cardinal, and other distributors that contain bundling



6
        The sealed version of this Memorandum and Order (Doc. 310) identifies this customer
specifically.


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terms. For example, a hospital membership association7 entered into a contract with Cardinal in

January 2008. Cardinal was the only distributor awarded a contract by this membership

association at that time. Of the membership association’s 34 members, no more than 22 of them

entered into the Cardinal contract. In December 2011, Medline beat Cardinal, O&M, and Suture

Express to win a sole-source contract with this membership association.

        One hospital, who is a member of this association and thus had the option to sign the

membership association’s med-surg distribution contracts, contracted with Cardinal until April

2012, when it switched to Medline as its primary distributor. In 2006, this hospital declined to

move business to Suture Express from Cardinal because the move would produce minimal

savings over its existing Cardinal contract. This existing contract called for an increase in the

cost plus markup for med-surg distribution if the hospital failed to meet the 90% suture and endo

purchase requirement.

        A second hospital who is a member of this association also had the option to enter into

the membership association med-surg distribution contracts or contract locally with a different

distributor. This hospital signed the membership association contract with Cardinal for med-surg

distribution services until 2012, when it moved its business to Medline. The hospital did not

move its business to Suture Express because it made fiscal sense to purchase suture and endo

through Medline based on the pricing structure of Medline’s contract.

        A third hospital8 is an equity member of a GPO and thus had committed to use a med-

surg distributor authorized by the GPO. In 2008, this hospital had the choice of four authorized


7
        The sealed version of this Memorandum and Order (Doc. 310) identifies this membership
association specifically and the specific hospitals who are members of this association as described the
following paragraphs.
8
        The sealed version of this Memorandum and Order (Doc. 310) specifically identifies this hospital
and the six additional hospitals described in the following six paragraphs.

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med-surg distributors—O&M, Cardinal, Medline, or Suture Express. The hospital switched

from Cardinal to O&M in 2008, after having switched from O&M to Cardinal in 2007. The

hospital declined to move its suture and endo distribution to Suture Express because it wanted to

consolidate services, and it recognized that moving the business would increase its costs under

its existing contract with O&M.

        A fourth hospital chose to contract with O&M instead of Cardinal, Medline, and

Professional Hospital Supply (a regional distributor). The hospital was subject to bundling terms

under its O&M contract, which it considered when making the decision not to move business to

Suture Express. But that was not the “overriding reason” for the decision. Instead, this hospital

decided to keep its business with O&M because of the benefits of having a local distributor.

        A fifth hospital purchased suture and endo distribution from Suture Express and other

med-surg from Medline until 2010, when it switched its med-surg distribution to O&M and was

subject to a bundling term. In 2012, the hospital switched from O&M to Medline as its

distributor for med-surg products, including suture and endo. When it made the switch, the

hospital considered contract proposals from O&M, Cardinal, Medline, and Seneca (a regional

distributor).

        A sixth hospital understood that it had many options for contracting with med-surg

distributors through its GPO. It even had switched GPOs to receive better contracting

opportunities. In 2009, the hospital signed a contract with O&M through a regional purchasing

group within its GPO. Before entering that contract, the hospital purchased suture and endo

distribution from Suture Express. After signing the contract with O&M, the hospital moved its

suture and endo business to O&M because the contract required it to do so or incur increased




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markups. The contract also provided that the hospital could move suture and endo distribution

back to Suture Express if O&M failed to comply with a 99% fill rate requirement.

       A seventh hospital chose to contract with Cardinal in 2009, as its primary med-surg

distributor, over Medline and O&M. The hospital considered purchasing suture and endo

distribution from Suture Express but chose not to do so for efficiency reasons, and because it

wanted to work with one single distribution channel. While the hospital’s contract with Cardinal

required it to purchase suture and endo distribution through Cardinal, the hospital testified that

the bundling contractual terms were not necessarily a factor in its decision to keep its suture and

endo distribution with Cardinal instead of Suture Express.

       An eighth hospital implemented an expense reduction plan in 2009 or 2010, part of which

involved reevaluating its med-surg distribution contract with Cardinal. The hospital solicited

RFPs, and Cardinal, O&M, Medline, and Claflin (a regional distributor) responded. The hospital

did not send an RFP to Suture Express because it decided to seek bids only from broadline

distributors. The hospital awarded the contract to Cardinal because of its lower markup, better

payment terms, and other considerations. The hospital purchased suture and endo from Suture

Express before it entered the new agreement with Cardinal in 2010, but stopped doing so because

it wanted to achieve the financial benefits of its Cardinal contract. The Cardinal contract

included a bundling provision that required the hospital to repay part of Cardinal’s discount if the

hospital failed to meet its suture and endo commitment.

       A ninth hospital changed distributors from Medline and Suture Express to O&M in 2011.

The hospital told Suture Express that it was moving its business to O&M in an effort to

consolidate purchases, minimize inventory, and realize savings. The hospital’s contract with




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O&M contained a bundling term that required it to purchase a certain volume of suture and endo

from O&M, or incur price markups.

       Broadline Distributors’ Distribution of Suture and Endo and Value-Added Services

       Broadline distributors, like O&M and Cardinal, provide economies of scale. This means

that per-unit costs are lower when they distribute high volumes of med-surg products. Some

common costs exist when O&M and Cardinal distribute suture and endo products and other med-

surg products together by truck. As described above, suture and endo products account for about

10% of an acute care provider’s total spending on med-surg products. Suture and endo products

are smaller and lighter than most other med-surg products, and have high-dollar value relative to

their size and weight. They also are more expensive than most other med-surg products, yielding

higher revenue for distribution services priced on a cost-plus basis. In contrast, med-surg

products that are bulky or heavy are more expensive to deliver, and they contribute relatively less

revenue for the amount of space they consume on a distribution truck.

       A broadline distributor’s trucks make regular deliveries of med-surg products to its

customers regardless whether the customers have ordered suture and endo through it. The

distributor can add suture and endo products to the customer’s existing delivery without adding

meaningful cost to that delivery because the same truck and driver, using virtually the same

amount of fuel, will deliver the customer’s med-surg products regardless of whether the load

contains suture and endo products.

       But O&M and Cardinal also recognize that some customers prefer more frequent

deliveries of suture and endo products than other med-surg products. To that end, O&M and

Cardinal have established distribution practices specific to suture and endo products. Cardinal

has the National Suture Center, a separate, centralized distribution facility for suture and endo



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distribution. Cardinal set up this facility to improve customer service and reduce eroding sales to

Suture Express. O&M operates a centralized facility that resupplies its local facilities and from

which certain customers can order suture and endo products directly.

       Broadline distributors, including O&M and Cardinal, also offer special services,9 such as

inventory management that can help customers save money. But, in many cases, customers pay

additional fees for these special services. Some broadline distributors, including O&M and

Cardinal, offer logical- or low-unit-of-measure (“LUM”) programs. Other broadline distributors,

including O&M and Cardinal, offer just-in-time (“JIT”) inventory replenishment programs that

may require additional deliveries to customers. O&M and Cardinal also offer wound closure

inventory management programs; they permit the distributor to work directly with the purchasing

customer to manage their suture and endo inventory. Cardinal’s Wound Closure Management

Services program enables Cardinal to make recommendations to customers about the appropriate

size, storage, and stocking locations for suture and endo inventory. Less than 1% of Cardinal’s

customers use this program. O&M’s program—PANDAC—involves on-site cost containment

and inventory management services for suture and endo and certain other med-surg products.

About 20% of O&M’s suture and endo customers use PANDAC. Some broadline distributors

also provide same-day delivery to customers if they operate within specified driving distance of

the nearest distribution center. However, requests for same-day deliveries are rare. Same-day

deliveries also may cost more, and a distributor is able to fulfill a same-day request only if it

already has the product in stock at its local distribution center.

       Competition Among National and Regional Distributors

       O&M and Cardinal have won and lost customers from and to one another. As already

discussed, O&M and Cardinal also compete against a third national broadline distributor,
9
       Suture Express also offers similar services.

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Medline. Medline has grown its business in recent years. In early 2014, it acquired Professional

Hospital Supply (“PHS”), a regional distributor located primarily in the western United States.

Medline’s med-surg product distribution to acute and non-acute providers has grown from less

than $2 billion in sales in 2008 to over $5 billion in sales in 2014. These numbers exclude

growth derived from Medline’s acquisition of PHS. For suture and endo distribution only,

Medline distributed about $35 million to both acute and non-acute providers in 2008. By 2014,

Medline’s suture and endo distribution to both acute and non-acute providers increased to about

$220 million (not including PHS suture and endo distribution figures). Medline has won

customers from O&M and Cardinal. Medline also has negotiated contracts with GPOs and

regional buying groups. Suture Express also has won and lost contracts against Medline.

       The three national broadline distributors also sometimes compete with regional med-surg

distributors for business. Suture Express also has lost and won contracts against certain regional

distributors. For example, Seneca Medical (“Seneca”) is a regional distributor that distributes

90,000 different products from 1,500 different manufacturers. Seneca operates in 12 states out

of six distribution centers. It has a fleet of more than 80 trucks and 30 account managers in the

field. Since 2007, Seneca has opened three additional distribution centers. A Seneca

representative estimated that in the last five or six years, Seneca has grown by 50%. The Seneca

representative also estimated that Seneca’s market share has grown to 50% (and as high as 75%

market share in some geographic areas it serves), and that Seneca has a 15% to 16% share

overall in the 12-state region that it serves. Seneca has won customers from O&M and Cardinal.

Between January 2011 and May 2014, Seneca won several major health systems customers

competing against Cardinal, O&M, and Medline.




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        MMS Inc., LLC (“MMS”) is another regional full-line distributor. It has distribution

centers in eight states and Guam. MMS provides same day service by distributing to its acute

care customers located within a six hour drive of its distribution centers. The Claflin Company

(“Claflin”) is a regional distributor of med-surg supplies located in Providence, Rhode Island. It

serves the New England region, and it has grown in the last 30 years by purchasing other

distributors. In 2009, Claflin beat both O&M and Cardinal to win an estimated $25 million med-

surg distribution contract with a certain hospital.10 Before that, Cardinal had served as the

distributor for that hospital for five years.

        Before Medline acquired it in 2014, PHS operated as a regional acute care distributor. It

had eight distribution centers in six states. Buffalo Hospital Supply is another distributor of

med-surg products. It currently serves over 500 healthcare organizations, and it competes with

O&M and Cardinal for business. DeKroyft-Metz & Co., Inc. (“DeKroyft”) is another regional

distributor based in Peoria, Illinois. It operates one distribution center that serves three states.

Kreisers Inc. (“Kreisers”) is a regional med-surg distributor located in Sioux Falls, South Dakota.

It operates six distribution centers. Midland Medical Supply is a regional med-surg distributor

located in Lincoln, Nebraska, with a customer base of nearly 600 clients that includes hospitals,

clinics, doctor’s offices, surgery centers, long term care homes, and medical and industrial

laboratories. American Medical Depot is another regional med-surg distributor with two

corporate offices—one in Florida and the other in Pennsylvania. It carries 350,000 products

from over 2,000 suppliers.

        In 2007, O&M bought the acute care business of McKesson Medical-Surgical

(“McKesson”). McKesson operates a med-surg business unit that supplies med-surg products to

physicians’ offices, home care agencies, long-term care facilities, and surgery centers. It carries
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        The sealed version of this Memorandum and Order (Doc. 310) identifies this hospital specifically.

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more than 200,000 med-surg products which it distributes from a network housed in more than

45 different locations. Although O&M now operates McKesson’s acute care business,

McKesson is not subject to a non-compete agreement that prevents it from reentering the acute-

care market.

       Also, Henry Schein Medical is a broadline distributor of med-surg products to primary

care physicians and specialists, group practices, physician-owned labs, and ambulatory surgery

centers. In 2006, it sold its hospital supply (which is the relevant market here). But all the

parties in this case recognize Henry Schein Medical as a competitor in the non-acute and

ambulatory care markets.

       Competition from Manufacturers

       As described above, some hospital systems use a self-distribution strategy. That is, they

purchase products directly from manufacturers and perform distribution functions themselves.

With self-distribution, an IDN or collective of hospitals uses its own distribution center or

centers to distribute products to member hospitals. But self-distribution customers still may rely

on outside distributors for services that they choose not to handle themselves.

       O&M has lost at least two customers to self-distribution. Suture Express likewise

identifies direct distribution from suture and endo manufacturers Johnson & Johnson (Ethicon)

and Covidien as competition in the market. Ethicon and Covidien provide direct purchasing

services to customers, and, in recent years, have offered changes in their pricing structure for

customers making direct purchases.

       Pricing in Distribution Contracts

       Many factors may influence the distribution pricing that a distributor and acute care

customer agree to in a contract. As already mentioned, GPOs tend to negotiate contracts with



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one or more med-surg distributors on behalf of their members. For several GPOs, the RFP and

negotiation process is handled by GPO member advisory councils. Usually, this process starts

with a GPO issuing an RFP, and then med-surg distributors respond. The RFP describes various

contract terms and asks the distributors if they are willing to agree to those terms. The contract

terms in the RFP are a starting point for negotiation.

       Some RFPs from GPOs specifically have requested contract terms containing product

category commitments from customers. But GPOs earn administrative fees in proportion to the

total volume of med-surg distribution that passes through the distributors. For that reason, GPOs

have an incentive to include volume commitments in med-surg distribution contracts.

       Some, but not all, of the national and regional med-surg distributors include volume and

product commitments in their customer contracts. A customer who purchases higher volumes

from a distributor has greater leverage to obtain lower prices. Suture Express also includes

volume commitments in its contracts. These contractual terms offer more favorable pricing in

exchange for purchasing larger quantities of products. But such terms do not make pricing

contingent on the purchase of another type of product, similar to the bundling provisions used by

O&M and Cardinal.

       Other national and regional broadline distributors have included in their contracts terms

similar to the terms used by O&M and Cardinal, where pricing depends on the customer’s

commitment to purchase a certain volume of suture and endo distribution. Medline includes in

its agreements a price increase by one half point if a customer stops purchasing suture and endo

distribution from Medline. The majority of Seneca’s local agreements also include a percentage

or other commitment to obtain suture and endo products and custom procedure trays from

Seneca. Two distributors, MMS and Seneca, testified that they include suture and endo



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commitment terms in their contracts because the product category is important to their

profitability and pricing.

       Some of O&M and Cardinal’s contracts contain a cost-plus markup fee for med-surg

distribution that represents one blended rate for all med-surg product categories. Other of their

contracts contain more than one cost-plus markup fee, with markup fees that may differ for

certain specific product categories. Suture and endo products are two product categories that,

sometimes, have a different distribution markup than the one that applies to med-surg product

markups.

       Suture Express’ expert, Professor Elhauge, performed an analysis that concluded that

defendants’ markup to acute care facilities for other med-surg products has been over 50%

higher than the distribution markup charged to acute care facilities for suture and endo products.

But, when customers contracted with defendants on a “blended” rate for both types of

distribution, defendants sometimes based the rate on the product mix, and charged lower rates

when customers bought more suture and endo products.

       Profits

       On average, O&M and Cardinal’s markups for the distribution of med-surg products

were lower in 2013 than they were in 2008. Markups also have declined for regional distributors

Seneca and MMS. And, on average, O&M and Cardinal’s markups for the distribution of suture

and endo products were lower in 2013 than they were in 2008. Professor Elhauge and Suture

Express’ former CEO concede that Suture Express restrains the prices that O&M and Cardinal

can charge for suture and endo distribution services. Suture Express also acknowledges that

competition has pushed the markups for suture and endo products down.




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        O&M and Cardinal’s profit margins have declined since 2008. Cardinal’s operating

margins for distribution-only activity have decreased by about 80% from 2008 to the end of

2011. O&M’s operating margins for med-surg distribution also have decreased by about 17%

between 2008 and 2013. O&M and Cardinal’s distribution services margins also declined during

this period. Cardinal’s distribution services margin (which is roughly seven to eight times

greater than its operating margin) decreased by about 75% between 2008 and 2013. But O&M’s

distribution services margin (which is about 10 to 11 times greater than its operating margin)

only decreased by about 8% from 2008 to 2013.11 Suture Express’ distribution services margin

is higher than either O&M or Cardinal’s med-surg distribution services margins.

        Barriers to Entry in the Market

        A business seeking to enter the med-surg distribution market would incur large

investment costs associated with that effort, including costs for building or leasing one or more

distribution center(s) and leasing or purchasing delivery trucks. For example, O&M has

distribution centers located throughout the country. Each distribution center distributes med-surg

products within a geographic area consisting of one to three states. Cardinal also has located

distribution centers across the country in close proximity to heavily populated areas.

        The process for switching broadline distributors requires time and expense on the

customer’s part. One customer has described it as a complex and detailed process, especially if

the customer operates more than one facility. The process of switching involves an assessment

of current inventories and order histories of the different types of med-surg products with the


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         The sealed version of this Memorandum and Order contains specific data for defendants’ profit
margins described in the above paragraph. Defendant O&M argued, persuasively, that revealing of this
specific data could place it at a competitive disadvantage in the marketplace. The Court thus expresses
this data in broader terms in the Amended Memorandum and Order. If that data should become relevant
to issues in later proceedings, the sealed version of this Memorandum and Order recites this data
specifically.

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incumbent distributor, ensuring availability of the current products with the new distributor,

determining pricing structures, loading and coordinating computer systems with the new

distributor, and coordinating placement of orders and deliveries with the new distributor. But, as

shown by examples described above, acute care customers often switch distributors for various

reasons, including more favorable contract terms.

       Challenges to Suture Express’ Business

       Since its inception, Suture Express has never distributed the full range of med-surg

products. Thus, most of the med-surg product categories purchased by hospitals are not

available from Suture Express. Suture Express also does not offer same-day service outside of

the area near its warehouse in Kansas.

       From 2006 to 2008, Suture Express successfully gained suture and endo business from

Medline customers. But this success declined after Medline improved its service in suture and

endo distribution, offered discounted pricing, and included bundling terms in its contracts. Since

2010, Medline has experienced significant growth in its suture and endo distribution to both

acute and non-acute providers, more than doubling the amount of its sales in this market.

       In mid-2010, a certain hospital12 notified Suture Express that, effective January 2011, it

would move its business to O&M. This hospital was Suture Express’ largest revenue-producing

customer between 2006 and 2010. The hospital accounted for about 20% of Suture Express’ net

sales in 2009 and 2010. The loss of this customer had a negative effect on Suture Express’

revenues and profits.

       II.     Summary Judgment Standard

       The standard for deciding summary judgment is well-known. Summary judgment is

appropriate if the moving party demonstrates that there is “no genuine dispute as to any material
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       The sealed version of this Memorandum and Order (Doc. 310) identifies this hospital specifically.

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fact” and that it is “entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also In

re Aluminum Phosphide Antitrust Litig., 905 F. Supp. 1457, 1460 (D. Kan. 1995). When it

applies this standard, the Court “view[s] the evidence and make[s] inferences in the light most

favorable to the non-movant.” Nahno-Lopez v. Houser, 625 F.3d 1279, 1283 (10th Cir. 2010)

(citing Oldenkamp v. United Am. Ins. Co., 619 F.3d 1243, 1245–46 (10th Cir. 2010)).

       “An issue of fact is ‘genuine’ ‘if the evidence is such that a reasonable jury could return a

verdict for the non-moving party’ on the issue.” Id. (quoting Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986)); see also In re Urethane Antitrust Litig., 913 F. Supp. 2d 1145, 1150

(D. Kan. 2012) (explaining that “[a]n issue of fact is ‘genuine’ if ‘the evidence allows a

reasonable jury to resolve the issue either way.’” (quoting Haynes v. Level 3 Commc’ns, LLC,

456 F.3d 1215, 1219 (10th Cir. 2006)). “An issue of fact is ‘material’ ‘if under the substantive

law it is essential to the proper disposition of the claim’ or defense.” Nahno-Lopez, 625 F.3d at

1283 (quoting Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998) (citing

Anderson, 477 U.S. at 248)).

       The moving party bears “‘both the initial burden of production on a motion for summary

judgment and the burden of establishing that summary judgment is appropriate as a matter of

law.’” Kannady v. City of Kiowa, 590 F.3d 1161, 1169 (10th Cir. 2010) (quoting Trainor v.

Apollo Metal Specialties, Inc., 318 F.3d 976, 979 (10th Cir. 2002)). To meet this burden, the

moving party “‘need not negate the non-movant’s claim, but need only point to an absence of

evidence to support the non-movant’s claim.’” Id. (quoting Sigmon v. CommunityCare HMO,

Inc., 234 F.3d 1121, 1125 (10th Cir. 2000)); see also In re Urethane Antitrust Litig., 913 F.

Supp. 2d at 1150 (explaining that “a movant that does not bear the ultimate burden of persuasion

at trial need not negate the other party’s claim; rather, the movant need simply point out to the



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court a lack of evidence for the other party on an essential element of that party’s claim.”

(citation omitted)).

       If the moving party satisfies its initial burden, the non-moving party “‘may not rest on its

pleadings, but must bring forward specific facts showing a genuine issue for trial as to those

dispositive matters for which it carries the burden of proof.’” Id. (quoting Jenkins v. Wood, 81

F.3d 988, 990 (10th Cir. 1996)); see also Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986);

Anderson, 477 U.S. at 248–49. “To accomplish this, the facts must be identified by reference to

affidavits, deposition transcripts, or specific exhibits incorporated therein.” Adler, 144 F.3d at

671 (citing Thomas v. Wichita Coca-Cola Bottling Co., 968 F.2d 1022, 1024 (10th Cir.), cert.

denied, 506 U.S. 1013 (1992)).

       Here, plaintiff and defendants both have filed motions for summary judgment. When the

parties file cross-motions for summary judgment, the legal standard does not change. Each

movant bears the burden of establishing that no genuine issue of material fact exists and it is

entitled to judgment as a matter of law under its summary judgment theory. Atl. Richfield Co. v.

Farm Credit Bank of Wichita, 226 F.3d 1138, 1148 (10th Cir. 2000). The Court must treat cross

motions for summary judgment separately—“the denial of one does not require the grant of

another.” Buell Cabinet Co. v. Sudduth, 608 F.2d 431, 433 (10th Cir. 1979). However, where

the cross motions overlap, the Court may address the legal arguments together. Berges v.

Standard Ins. Co., 704 F. Supp. 2d 1149, 1155 (D. Kan. 2010) (citation omitted). Also, the

Court may assume that it need not consider evidence beyond that cited by the parties. Atl.

Richfield Co., 226 F.3d at 1148 (quoting James Barlow Family Ltd. P’ship v. David M. Munson,

Inc., 132 F.3d 1316, 1319 (10th Cir. 1997)). Nevertheless, the Court must deny summary

judgment if disputes remain about material facts. Id. (quoting James Barlow, 132 F.3d at 1319).



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       Finally, summary judgment is not a “disfavored procedural shortcut.” Celotex, 477 U.S.

at 327. Instead, it is an important procedure “designed ‘to secure the just, speedy and

inexpensive determination of every action.’” Id. (quoting Fed. R. Civ. P. 1). And, summary

judgment has “particular importance in the area of antitrust law, because it helps to avoid

wasteful trials and prevent lengthy litigation that may have a chilling effect on pro-competitive

market forces.” Major League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 309 (2d Cir.

2008) (citation, internal quotation marks, and alterations omitted); see also Race Tires Am., Inc.

v. Hoosier Racing Tire Corp., 614 F.3d 57, 73 (3d Cir. 2010) (stating that “[t]he entry of

summary judgment in favor of an antitrust defendant may actually be required in order to prevent

lengthy and drawn-out litigation, which may have a chilling effect on competitive market

forces.” (citation omitted)). Indeed, the Supreme Court has recognized that “[s]ummary

judgments have a place in the antitrust field” because “[s]ome of the law in this area is so well

developed that [when] the gist of the case turns on documentary evidence, the rule at times can

be divined without a trial.” White Motor Co. v. United States, 372 U.S. 253, 259 (1963); see also

SEC v. Geyser Minerals Corp., 452 F.2d 876, 881 (10th Cir. 1971) (explaining that “even in

antitrust litigation, if the pertinent area of law is well developed and the case turns on

documentary evidence, disposition by summary judgment may be appropriate” (citing White

Motor Corp., 372 U.S. at 259)).

       III.    Analysis

       Suture Express has filed a Partial Motion for Summary Judgment (Doc. 254) asking the

Court to find that O&M and Cardinal’s bundling actions are an illegal tying practice that

violates: (1) Section 1 of the Sherman Antitrust Act; (2) Section 3 of the Clayton Act; and (3)

the Kansas Restraint of Trade Act (“KRTA”), K.S.A. § 50-101 et seq. Defendants have filed a



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Motion for Summary Judgment (Doc. 253), seeking summary judgment against all three legal

theories invoked by Suture Express’ claims. The Court exercises its discretion to address the

parties’ cross-motions together.

                A. Sherman Act § 1

        Suture Express asserts that defendants’ bundling practices constitute an illegal tying

arrangement that violates section 1 of the Sherman Act. A tying arrangement exists when a

seller conditions its sale of a product (the “tying” product) on the purchase of a second product

(the “tied” product). Ill. Tool Works, Inc. v. Indep. Ink, Inc., 547 U.S. 28, 31 (2006). The

Supreme Court has explained that “‘the essential characteristic of an invalid tying arrangement

lies in the seller’s exploitation of its control over the tying product to force the buyer into the

purchase of a tied product that the buyer either did not want at all, or might have preferred to

purchase elsewhere on different terms.’” Id. (quoting Jefferson Par. Hosp. Dist. No. 2 v. Hyde,

466 U.S. 2, 12 (1984)). But, even in concentrated markets, tying arrangements “may serve

procompetitive purposes, such as quality control, production and sales efficiencies, and

facilitation of indirect price competition.” Town Sound & Customer Tops, Inc. v. Chrysler

Motors Corp., 959 F.2d 468, 477 (3d Cir. 1992); see also Cascade Health Sols. v. PeaceHealth,

515 F.3d 883, 895 (9th Cir. 2007) (explaining tying in the form of bundled discounts “generally

benefit[s] buyers because the discounts allow the buyer to get more for less” and that tying can

produce “savings to the seller because it usually costs a firm less to sell multiple products to one

customer at the same time than it does to sell the products individually”).

        Here, Suture Express claims that defendants have conditioned the sale of other med-surg

distribution (the “tying” product) on the purchase of suture and endo distribution (the “tied”

product). Each defendant imposed a tying arrangement, according to Suture Express, by



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offering a bundled discount that makes it uneconomic for customers to contract for suture and

endo distribution separate and apart from other med-surg distribution. Suture Express

characterizes the bundled discount as a “penalty” that defendants impose on customers who

choose to purchase suture and endo distribution elsewhere. And, Suture Express contends, this

bundling arrangement amounts to an unreasonable restraint on trade in violation of the Sherman

Act § 1.

       Section 1 of the Sherman Act prohibits “[e]very contract, combination in the form of trust

or otherwise, or conspiracy, in restraint of trade or commerce among the several States.” 15

U.S.C. § 1. Notwithstanding its words, § 1 does not prohibit every restraint of trade, but only

“unreasonable restraints of trade.” Law v. NCAA, 134 F.3d 1010, 1016 (10th Cir.), cert denied,

525 U.S. 822 (1998) (internal quotation marks and citation omitted). Courts employ two

different tests to determine whether a defendant’s conduct unreasonably restrains trade. Id.

They are: (1) the per se rule, and (2) the rule of reason. Id. (citing SCFC ILC, Inc. v. Visa USA,

Inc., 36 F.3d 958, 963 (10th Cir. 1994)).

       The elements of a tying violation are: “(1) two separate products or services are

involved; (2) the sale or agreement to sell one product or service is conditioned on the purchase

of another; (3) the seller has sufficient economic power in the tying product market to enable it

to restrain trade in the tied product market; and (4) a not insubstantial amount of interstate

commerce in the tied product is affected.” Sports Racing Servs., Inc. v. Sports Car Club of Am.,

Inc., 131 F.3d 874, 886 (10th Cir. 1997) (citations omitted); see also Eastman Kodak Co. v.

Image Tech. Servs., Inc., 504 U.S. 451, 461–62 (1992); Jefferson Par., 466 U.S. at 12–18,

abrogated on other grounds by Ill. Tool Works, Inc., 547 U.S. at 31; Multistate Legal Studies,




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Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Publ’n, Inc., 63 F.3d 1540, 1546 (10th Cir.

1995) (reciting the elements of a “per se violation”).

        The per se rule “condemns practices that ‘are entirely void of redeeming competitive

rationales.’” Id. (quoting SCFC ILC, Inc., 36 F.3d at 963). When presented with a practice that

is illegal per se, the court “need not examine the practice’s impact on the market or the

procompetitive justifications for the practice advanced by a defendant before finding a violation

of antitrust law.” Id. Some courts have recognized, however, that the “per se” rule in tying cases

is not “like other, truly per se rules in antitrust law” because it requires an “inquiry into [the]

tying product market structure (which is frequently costly and time-consuming) . . . but if the

defendant is found to have market power there, the plaintiff is, in theory, relieved of proving

actual harm to competition and of rebutting justifications for the tie-in.” Town Sound &

Customer Tops, Inc., 959 F.2d at 477; see also Sheridan v. Marathon Petroleum Co., 530 F.3d

590, 593–94 (7th Cir. 2008) (explaining that despite several Supreme Court decisions applying

the rule of reason test to vertical restraints, the Supreme Court has not discarded the “per se”

tying rule and, instead, it has modified the rule by requiring that the seller hold market power in

the tying product); U.S. Healthcare, Inc. v. Healthsource, Inc., 986 F.2d 589, 593 n.2 (1st Cir.

1993) (stating that “[t]ying is sometimes also described as a per se offense but, since some

element of power must be shown and defenses are effectively available, ‘quasi’ per se might be a

better label.” (citing Eastman Kodak Co., 504 U.S. 451)).

        Absent per se liability, a plaintiff still may prevail on a tying claim if the challenged

practice unreasonably restrains competition. See Jefferson Par., 466 U.S. at 29; Fortner Enters.,

Inc. v. U.S. Steel Corp., 394 U.S. 495, 500 (1969) (“A plaintiff can still prevail on the merits

whenever he can prove, on the basis of a more thorough examination of the purposes and effects



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of the practices involved, that the general standards of the Sherman Act have been violated.”).

When making this determination, courts use a rule of reason test that “requires an analysis of the

restraint’s effect on competition.” Law, 134 F.3d at 1016–17 (citing Nat’l Soc’y of Prof’l Eng’rs

v. United States, 435 U.S. 679, 695 (1978)). A court first must determine “whether the

challenged restraint has a substantially adverse effect on competition.” Id. at 1017 (citing SCFC

ILC, Inc., 36 F.3d at 965). If so, “[t]he inquiry then shifts to an evaluation of whether the

procompetitive virtues of the alleged wrongful conduct justifies the otherwise anticompetitive

impacts.” Id. (citing United States v. Brown Univ., 5 F.3d 658, 669 (3d Cir. 1993)).

       To determine whether the challenged practice imposes an unreasonable restraint on trade,

the Court must examine “a variety of actual market factors.” Reazin v. Blue Cross & Blue Shield

of Kan., Inc., 899 F.2d 951, 960 (10th Cir. 1990) (citation and internal quotation marks omitted).

Under this analysis, plaintiff bears the burden of showing an “adverse effect on competition.” Id.

(citation and internal quotation marks omitted). Importantly, the challenged restraint must inflict

an adverse impact on competition, not just on an individual competitor or the plaintiff’s business.

Id. (citing Westman Comm’n Co. v. Hobart Int’l, Inc., 796 F.2d 1216, 1220 (10th Cir. 1986),

cert. denied, 486 U.S. 1005 (1988); Christofferson Dairy, Inc. v. MMM Sales, Inc., 849 F.2d

1168, 1172 (9th Cir. 1988)).

       When Judge Rogers decided defendants’ motion to dismiss, he ruled that the Complaint

failed to state a plausible Sherman Act violation under a per se analysis. Doc. 50 at 8–10. But,

Judge Rogers held that Suture Express’ tying claim properly stated a claim under the rule of

reason analysis. Id. at 10–11. In its summary judgment motion, Suture Express recites the

elements of a tying violation (Doc. 268 at 67), and asserts that the summary judgment facts

demonstrate each of these elements under a rule of reason analysis, thereby warranting summary



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judgment in its favor. See Doc. 268 at 66–80. Suture Express also argues that the bundling

provisions have affected competition adversely and no procompetitive justifications exist for the

practice. Conversely, defendants argue in their summary judgment motion that the undisputed

facts, even when viewed in Suture Express’ favor, fail to establish the elements of a tying claim.

And, defendants assert, even if Suture Express could establish the elements of a tying claim

under a rule of reason analysis, the summary judgment facts present no anticompetitive effects

from defendants’ bundling but instead demonstrate pro-competitive and valid business reasons

for the bundling practices. Thus, analyzing Suture Express’ claim under a rule of reason

analysis, defendants contend they are entitled to summary judgment.

       The Court addresses each of these arguments below and concludes that the summary

judgment facts, even when viewed in the light most favorable to Suture Express, present no basis

for a reasonable jury to find the existence of an illegal tying arrangement violating § 1 of the

Sherman Act. Thus, Cardinal and O&M are entitled to summary judgment against Suture

Express’ Sherman Act § 1 claim.

               1. Elements of a Tying Arrangement

       Suture Express asserts that the undisputed summary judgment facts establish all four

elements of an illegal tying arrangement in violation of § 1. As stated, those four elements

require proof of: “(1) two separate products or services are involved; (2) the sale or agreement to

sell one product or service is conditioned on the purchase of another; (3) the seller has sufficient

economic power in the tying product market to enable it to restrain trade in the tied product

market; and (4) a not insubstantial amount of interstate commerce in the tied product is affected.”

Sports Racing Servs., Inc., 131 F.3d at 886 (citations omitted). Suture Express contends that the




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summary judgment facts entitle it to summary judgment on the issue of liability on its Sherman

Act claim.

       In contrast, defendants O&M and Cardinal assert that Suture Express cannot establish all

four elements. They argue that certain disputed facts exist on some elements, and they thus

preclude summary judgment for Suture Express. More specifically, O&M and Cardinal argue

that any disputed facts germane to the first element of a tying claim—whether two separate

products are involved—preclude summary judgment for Suture Express. But those disputes do

not matter, defendants say, to the legal theory advanced by their summary judgment motion.

Defendants assert that no triable issue of material fact exists about the second and third elements

of the Sherman Act claim.

       The Court examines the second and third elements below. In subpart a, the Court

considers the second element of a tying claim—whether the agreement to sell med-surg

distribution is conditioned on purchasing suture and endo distribution. As explained in that

section, the Court concludes that factual issues preclude a summary judgment finding for either

party on this element. In subpart b, the Court concludes that the summary judgment facts

preclude the possibility that Suture Express can establish the third element of a tying claim, i.e.,

that O&M and Cardinal have sufficient market power in the tying product to permit them to

restrain trade in the tied product market. This conclusion leads the Court to grant summary

judgment for defendants against Suture Express’ §1 tying claim. Likewise, it negates Suture

Express’ motion for summary judgment.




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                       a. The Court Cannot Decide on Summary Judgment whether
                          Defendants Condition the Sale of Med-Surg Distribution on the
                          Purchase of Suture and Endo Distribution.

       In its discretion, the Court begins with Suture Express’ summary judgment motion,

addressing the conditioning element of a tying claim. In this analysis, the Court views the

evidence in the light most favorable to defendants, and concludes that these summary judgment

facts present triable issues about the conditioning element of a tying claim.

                                       i. Suture Express’ Summary Judgment Arguments on
                                          the Conditioning Element

       Suture Express asserts that defendants have conditioned the sale of other med-surg

distribution on the sale of suture and endo distribution. Suture Express does not assert that the

bundling discounts actually prohibit customers from purchasing the two types of distribution

separately. Instead, Suture Express contends that the economic penalties imposed by defendants’

bundling contracts coerce customers into purchasing both kinds of distribution services from

them. See Monument Builders of Greater Kansas City, Inc. v. Am. Cemetery Ass’n of Kan., 891

F.2d 1473, 1476, 1483 (10th Cir. 1989) (holding that plaintiff had stated a tying claim against

defendants who had imposed “prohibitively expensive” surcharges on purchasers of cemetery

plots who bought grave markers separately instead of purchasing them from the cemetery).

       Suture Express relies on two different tests to prove that defendants’ bundling practices

have an illegal, coercive effect: (1) the buyer behavior test, which focuses on the percentage of

buyers of the tied product that take the bundle; and (2) the discount attribution test which

examines, after allocation of the alleged discounts to the tied product, whether the incremental

price of the tied product is below its costs.

       The buyer behavior test, examines “whether nearly all or a very high percentage of

buyers purchased the [bundle] from the defendant rather than purchasing [the tying product]

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from defendant and [the tied product] from a rival.” X Phillip E. Areeda & Herbert Hovenkamp,

Antitrust Law ¶ 1758a (3d ed. 2011). Suture Express’ expert, Professor Elhauge, performed the

buyer behavior test two different ways.

       First, he examined Suture Express’ performance among defendants’ customers who had

entered into contracts containing the bundling terms and compared it to Suture Express’

performance with customers who were not bound by bundling terms. From that data, plaintiff’s

expert determined that Suture Express’ market share among customers who had entered into

contracts with bundling terms ranged from 2% to 6%. Second, Professor Elhauge performed a

similar buyer behavior test by using sales data from Suture Express, Cardinal, and O&M to

calculate whether purchases of Suture Express’ suture and endo distribution by customers who

purchased other med-surg distribution from O&M and Cardinal (i.e., customers who “broke the

bundle”) was less than 10% of the sum of those purchases plus purchases of defendants’ suture

and endo distribution by customers who accepted the bundle. Professor Elhauge determined that

this ratio ranged between 3% and 7%, depending on the year.

       Defendants respond that Professor Elhauge performed the buyer behavior tests

incorrectly, using only Suture Express’ sales data as the rival tied product. Indeed, Areeda and

Hovenkamp suggest a presumption of non-tying if “a sufficiently large number of customers are

observed who purchase the secondary product from someone other than defendant.” X Areeda

& Hovenkamp ¶ 1758a (emphasis added). Here, Professor Elhauge only examined the

percentage of customers who broke the bundle by purchasing the tied product (suture and endo

distribution) from Suture Express—not the percentage of all purchases of the tied product from

any rival med-surg distributor. Suture Express counters defendants’ attack by explaining that

Professor Elhauge used all the data available to him to make his calculations, but this data did



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not include data from non-party med-surg distributors. But, even if he had, Professor Elhauge

asserts that the data would not favor defendants because the other broadline distributors also use

bundling contracts and any suture and endo sales made by other broadline distributors under their

bundling contracts would increase the denominator in the ratio, thereby producing an even

smaller percentage than the 3% to 7% that he calculated from just the parties’ data (and, thus, the

Court infers, establishing even stronger evidence of coercion). Professor Elhauge also opines

that, if a customer orders other med-surg from defendants but not suture and endo, then the

customer likely orders suture and endo from Suture Express; and not from another broadline

distributor because Suture Express offers lower markups than any other distributors in the

market. Defendants launch yet another line of attack on Professor Elhauge’s analysis, asserting

that neither of these buyer behavior tests is dispositive. Therefore, defendants say, Suture

Express cannot show it is entitled to summary judgment based solely on these tests.

       Areeda and Hovenkamp explain that the results of the buyer behavior test can play a

useful—but not dispositive—role. That is, the test may suggest an illegal tying arrangement, or

even create presumptions or inferences for and against illegal tying under certain circumstances.

X Areeda & Hovenkamp ¶ 1758a. But the commentators never endorse the test as a dispositive

one, capable of deciding the entire question. Id.

       The Court concludes that defendants’ criticisms of Professor Elhauge’s analysis under the

buyer behavior test present fact issues that preclude Suture Express from establishing coercion

on summary judgment. While these tests might persuade a reasonable jury to conclude that

coercion exists, a reasonable jury also could conclude otherwise—i.e., that consumer choices and

preferences drive the results, not coercion from defendants’ bundling provisions. Based on this

record, the undisputed facts fail to establish that defendants’ contracts have a coercive effect.



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        This leaves Professor Elhauge’s analysis under the discount attribution test. He used this

test to analyze cost data produced by Cardinal to determine how often the contract terms brought

the suture and endo distribution charges below cost. He concluded that among Cardinal

customers with contracts containing the bundling provision, the resulting incremental price was

lower than the minimum markup 67% of the time. He also opined that among O&M customers13

with such contracts, the resulting incremental price was lower than the minimum markup 85% of

the time.

        Other courts have applied the discount attribution test to tying or bundled discount cases

to assess the likelihood that coercion exists. See Collins Inkjet Corp. v. Eastman Kodak Co., 781

F.3d 264, 275 (6th Cir. 2015) (applying the discount attribution standard and finding a likelihood

that plaintiff could prove coercion because the record suggested that defendant was selling the

product below its incremental cost); Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 906

(9th Cir. 2007) (adopting a discount attribution standard that examined whether “the resulting

price of the competitive product or products is below the defendant’s incremental cost to produce

them,” and, if it is, “the trier of fact may find that the bundled discount is exclusionary for the

purpose of § 2.”).

        Defendants contend that Suture Express cannot use the discount attribution test to prove

coercion here, and they make two principal arguments. First, defendants argue that the discount

attribution test applies only to monopolization claims under Sherman Act § 2, and that no court

ever has applied the test to non-monopolists, as are defendants in this case. In Collins Inkjet

Corp., the Sixth Circuit applied the discount attribution test when plaintiff asserted a § 1

Sherman Act claim because it found no reason to treat economically identical behavior


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         Because O&M did not produce cost data sufficient for Professor Elhauge to perform a similar
calculation for its markups, he used Cardinal’s cost data to perform the analysis for O&M.

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differently under §§ 1 and 2 when both sections prohibit anticompetitive conduct. 781 F.3d at

267. But, in that case, defendant had a 100% monopolistic share of the market. Id. at 281.

       Defendants contend that no court ever has applied the discount attribution test to a non-

monopolist. The Court’s research reveals the same. This absence of authority makes sense

because the test examines whether defendant is selling “the competitive (or tied) [product at a]

price below cost,” which may exclude a rival who sells only the tied product. Id. at 274. But, in

a market without a monopolist, a seller of a full range of products has no incentive to exclude the

rival who sells only the tied product because other full range sellers competing in the market still

can defeat any effort to raise prices. Here, defendants are not monopolists. And so, even if

defendants excluded Suture Express, other med-surg distributors in the market (such as Medline)

can prevent defendants from raising prices. In a market without a monopolist, customers have

the option to move their business from defendants to other med-surg distributors (such as

Medline) if they are unsatisfied with defendants’ prices.

       When discussing the “formulation for cost-based tests for determining when a bundled

discount is ‘exclusionary’ in the sense that it keeps rivals out of the market,” the commentators

have described a scenario similar to the one presented here:

       In order to have antitrust significance a bundle must not merely keep one rival out
       of the market; it must exclude all of them. That is to say, a firm’s aggregate
       discount of product A, B, and C might very well exclude a rival who produces
       only B and C, but not A. However, if there are other rivals in the market who also
       make the full range of A, B, and C, then the practice is not exclusionary, although
       it may limit the range of effective competition to those firms capable of
       competing across the full range of goods.

Herbert Hovenkamp & Eric Hovenkamp, Complex Bundled Discounts and Antitrust Policy, 57

BUFF. L. REV. 1227, 1231 (July 2009). As applied here, defendants’ bundling of suture and endo

distribution does not exclude all rivals. For instance, defendants’ bundling arrangements have



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not excluded Medline, a third national broadline distributor who offers similar bundling

provisions. Likewise, defendants have not excluded Seneca and MMS, regional broadline

distributors who also offer bundling, from competing in the relevant market. The summary

judgment facts thus fail to show that defendants’ bundling practices have excluded all rivals, and

the discount attribution test cannot serve as a strong indicator of coercion because defendants are

not monopolists.

         Second, defendants attack Professor Elhauge’s analysis by asserting that he used an

improper measure of costs and an unrepresentative sample size. These criticisms create fact

issues that preclude Suture Express from prevailing on the coercion element of a tying claim and

thus preclude summary judgment in its favor. Also, like the buyer behavior test, the discount

attribution test may suggest evidence of coercion, but it is not a dispositive test that warrants

summary judgment for Suture Express. See Hovenkamp & Hovenkamp, 57 BUFF. L. REV. at

1255 (explaining that the discount attribution test “produces very severe false positives and

should be regarded as nothing more than a starting point for analysis”). In short, the results of

Professor Elhauge’s discount attribution test cannot establish coercion at the summary judgment

stage.

         Finally, Suture Express relies on anecdotal statements by its customers to establish

coercion. Suture Express cites comments from defendants’ customers giving their understanding

of the bundling terms in defendants’ contracts, i.e., that they prevented the customer from

purchasing suture and endo distribution from Suture Express. Some customers informed Suture

Express that their contracts prohibited the purchases while other customers explained that any

savings that they may realize from purchasing suture and endo distribution from Suture Express

was offset by the costs incurred under their contracts with defendants. Defendants respond that



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evidence of customers adhering to their contract terms is not coercion. If that were true,

defendants argue, the antitrust laws would prohibit all contracts restraining a customer’s ability

to do business with another. But that is not the law. See, e.g., NCAA v. Bd. of Regents, 468 U.S.

85, 98 (1984) (explaining that “every contract is a restraint of trade, and as we have repeatedly

recognized, the Sherman Act was intended to prohibit only unreasonable restraints of trade”).

       Viewing this evidence in the light most favorable to defendants, as the Court must when

it considers Suture Express’ summary judgment motion, the Court concludes that the summary

judgment facts present genuine issues precluding Suture Express from establishing the second

element of a tying claim—that defendants have conditioned the sale of other med-surg

distribution on the sale of suture and endo distribution. Because Suture Express cannot prove at

least one element of a tying claim on summary judgment, the Court denies Suture Express’

motion for partial summary judgment.

                                ii.     Defendants’ Summary Judgment Arguments on the
                                        Conditioning Element

       The Court now turns to defendants’ summary judgment arguments on this same element.

Defendants contend that the Court must grant summary judgment against Suture Express’ § 1

tying claim because the summary judgment facts present no triable issues about the conditioning

element of that claim. Specifically, defendants argue that no evidence of coercion exists because

med-surg distributors compete vigorously for contracts before a customer enters into a med-surg

distribution contract. And, defendants assert, customers are not coerced into entering those

contracts. Instead, defendants claim that the evidence simply shows that customers freely decide

to enter contracts and then adhere to the contract terms they have chosen. Also, defendants argue

that the contracts allow customers to terminate them, generally with six months’ notice, and

defendants have a history of lax enforcement of the bundling terms.

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         The summary judgment record contains conflicting evidence about this last point—

defendants’ enforcement of their contracts. A jury could examine defendants’ evidence and

conclude that no coercion exists. But a reasonable jury also could find that the results of

Professor Elhauge’s tests, notwithstanding defendants’ criticism of them, prove coercion. Thus,

the Court finds that disputed factual issues preclude it from deciding on summary judgment

whether defendants condition the purchase of other med-surg distribution on the purchase of

suture and endo distribution.

         Because the summary judgment facts present a genuine issue of fact on the second

element of a tying claim—that is, whether defendants have conditioned the sale of other med-

surg distribution on the sale of suture and endo distribution—the Court turns now to defendants’

other summary judgment theory. As the next section explains, the summary judgment facts

present no genuine issues about a separate element of Suture Express’ tying claim—market

power.

                        b. Defendants Lack Economic Power in Tying Market.

         The Supreme Court requires that “in all cases involving a tying arrangement, the plaintiff

must prove that the defendant has market power in the tying product.” Ill. Tool Works, 547 U.S.

at 46. But “[t]he standard of ‘sufficient economic power’ does not . . . require that the defendant

have a monopoly or even a dominant position throughout the market for the tying product.”

Fortner Enters., 394 U.S. at 502. Instead, “economic power over the tying product can be

sufficient even though the power falls far short of dominance and even though the power exists

only with respect to some of the buyers in the market.” Id. at 502–03 (citations omitted). “‘Even

absent a showing of market dominance, the crucial economic power may be inferred from the




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tying product’s desirability to consumers or from uniqueness in its attributes.’” Id. at 503

(quoting United States v. Loew’s Inc., 371 U.S. 38, 45 (1962)).

       A plaintiff can demonstrate that market power exists by adducing evidence of either

“power to control prices” or “the power to exclude competition.” Westman Comm’n Co. v.

Hobart Int’l, Inc., 796 F.2d 1216, 1225 n.3 (10th Cir. 1986); see also Fortner Enters., Inc. v.

U.S. Steel Corp., 394 U.S. 495, 503 (1969) (“Market power is usually stated to be the ability of a

single seller to raise price and restrict output.”). The power to control prices and the power to

exclude competition “may, in turn, depend on various market characteristics, including the

existence and intensity of entry barriers, elasticity of supply and demand, the number of firms in

the market, and market trends.” Reazin v. Blue Cross & Blue Shield of Kan., Inc., 899 F.2d 951,

967 (10th Cir. 1990) (citing Shoppin’ Bag of Pueblo, Inc. v. Dillon Cos., 783 F.2d 159, 162 (10th

Cir. 1986)); see also FTC v. Indiana Fed’n of Dentists, 476 U.S. 447, 460–61 (1986) (explaining

that “[s]ince the purpose of the inquiries into market definition and market power is to determine

whether an arrangement has the potential for genuine adverse effects on competition, ‘proof of

actual detrimental effects, such as a reduction of output,’ can obviate the need for an inquiry into

market power, which is but a ‘surrogate for detrimental effects’” (quoting 7 P. Areeda, Antitrust

Law ¶ 1511, p. 429 (1986)).

                                      i. Suture Express’ Summary Judgment Arguments on
                                         the Market Power Element

       Again, the Court begins by addressing Suture Express’ summary judgment arguments. In

so doing, the Court views the evidence in the light most favorable to defendants, the non-moving

parties on Suture Express’ summary judgment motion.

       Suture Express argues that the summary judgment facts establish that defendants possess

power in the market for other med-surg distribution. To support this claim, Suture Express

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points to defendants’ large market share in other med-surg products, the substantial barriers to

entering this market, the imposition of the bundling terms in a large percentage of defendants’

contracts, the infrequency of customers “breaking” the bundle, and Suture Express’ sales losses

to defendants because of the bundling provisions.

       First, Suture Express asserts that defendants comprise the large majority of nationwide

broadline distribution of other med-surg products. From 2007 to 2012, O&M’s share of the

market ranged from 32% to 38%, and Cardinal’s share ranged from 27% to 31%. Suture Express

cites several cases in which courts have determined that lesser market shares establish market

power. But defendants correctly explain that those cases involved different market conditions

than those presented here. See, e.g., United States v. Visa U.S.A., Inc., 344 F.3d 229, 239–40 (2d

Cir. 2003) (finding market power existed when one defendant had 47% market share and the

other defendant had 26% market share in a highly concentrated market where customers could

not refuse to do business with defendants, even when subject to significant price increases,

because of customer preference); Toys “R” Us, Inc. v. F.T.C., 221 F.3d 928, 937 (7th Cir. 2000)

(finding market power when a retailer, with 20% of the national wholesale market and up to 49%

in some local wholesale markets, successfully had reduced output from manufacturers thereby

insulating it from having to lower prices); Eiberger v. Sony Corp. of Am., 622 F.2d 1068, 1080–

81 (2d Cir. 1980) (explaining that defendant had a “strong market position” because it had

established 12% market share within just four years of entering the market and defendant was the

fastest growing company among four other competitors who accounted for 96% of the market);

United States v. Am. Express Co., 88 F. Supp. 3d 143, 188–91 (E.D.N.Y. 2015) (concluding that

defendant’s 26.4% market share of a highly concentrated market with significant barriers to entry

alone was not likely sufficient to prove market power without “the amplifying effect of



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cardholder insistence” on paying with an American Express card); Johnson v. Blue Cross/Blue

Shield of New Mexico, 677 F. Supp. 1112, 1119–20 (D.N.M. 1987) (concluding that genuine

issues precluded summary judgment for defendant on market power because defendant’s market

share of 25% to 30% was “artificially depress[ed]” and entering companies were unable to

capture any significant portion of the market).

       Importantly, while defendants’ market share is relevant to determining market power, it

“alone is insufficient to establish market power.” Reazin, 899 F.2d at 967 (citation and internal

quotation marks omitted). Thus, the Court cannot conclude that O&M and Cardinal have

sufficient market power based on their market shares alone.

       Second, the barriers to entry into the market fail to establish market power. “Entry

barriers are particular characteristics of a market which impede entry by new firms into that

market.” Reazin, 899 F.2d at 968 (citations omitted). Barriers to entry “may include high capital

costs or regulatory or legal requirements such as patents or licenses.” Id. Suture Express argues

that the barriers to entry here are substantial because national broadline distribution requires a

network of local distribution facilities and sufficient infrastructure that is expensive to build. It

also requires hospital customers to support the operation. But, the summary judgment facts show

that competitors in this med-surg market are growing their businesses as they compete against

O&M, Cardinal, and Suture Express for acute care customers. For example, Medline has grown

its business significantly from 2008 to 2014. It has won customers from O&M, Cardinal, and

Suture Express, and it has successfully negotiated contracts with GPOs and regional buying

groups. Also, regional distributors are competing successfully in this market, winning contracts

from national broadline distributors. For example, regional distributor Seneca has grown its

business by 50% in the last five or six years, and it has opened three new distribution centers



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since 2007. As these competitors have expanded in the market, O&M and Cardinal’s market

shares have declined or remained relatively flat. These facts fail to establish that barriers to entry

exist in the market.

       Suture Express also argues that a customer’s cost to switch med-surg distribution

precludes competitors from entering the market. But, the summary judgment facts establish just

the opposite. While some customers describe the process of switching distributors as an

involved one requiring an investment of time and overhead, the record is filled with examples of

customers who, in fact, have switched distributors on a regular basis. Indeed, O&M and

Cardinal retain only about half of all acute care customers after three or four years of beginning

to do business with them.

       Third, that defendants have managed to secure the bundling terms in a large number of

defendants’ contracts fails to establish market power. Suture Express’ expert reviewed 102 of

defendants’ customer contracts and concluded that, between 2006 and 2013, O&M made about

98% of its suture and endo sales and Cardinal made about 71% of its suture and endo sales under

contracts containing a bundling provision. But the mere existence of these terms in customer

contracts cannot create an inference of market power. See Tele Atlas N.V. v. NAVTEQ Corp.,

No. C-05-01673 RMW, 2008 WL 4809441, at *16 (N.D. Cal. Oct. 28, 2008) (explaining that

“[t]o permit the mere existence of a tying arrangement to satisfy the plaintiffs’ burden of

production on market power is to permit every tying case to proceed to a jury, even where the

defendant lacks a shred of market power. This is bad policy, as ‘[m]any tying arrangements,

even those involving patents and requirements ties, are fully consistent with a free, competitive

market.’” (quoting Ill. Tool Works, 547 U.S. at 45)).




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         The summary judgment facts also establish that other competitors in the market,

including national distributor Medline and regional distributors Seneca and MMS, use similar

bundling terms for suture and endo distribution in their customer contracts. And Suture Express

does not contend that these firms have market power. The undisputed facts reveal a market

where customers have a range of choices before deciding which contracts to enter. They can

contract through a GPO or regional buying group, or they can contract directly with a med-surg

distributor. Customers make the choice to enter into contracts containing bundling terms, both

with defendants and other competitive rivals. The existence of these terms in defendants’

contracts does not raise an inference of market power.

         Also, competitive rivals offer similar bundling terms, which demonstrates that

defendants’ bundling is not a barrier to entry. As the Seventh Circuit has explained, “[i]f rivals

may design and offer a similar package for a similar cost, there is no barrier, and without a

barrier there is no market power.” Will v. Comprehensive Accounting Corp., 776 F.2d 665, 672

(7th Cir. 1985). Here, other med-surg distributors, including Medline, Seneca, and MMS, offer

contractual terms similar to the ones used by defendants. Thus, defendants’ use of bundling

terms is not unique among competitors in the market, and this practice fails to establish market

power.

         Fourth, Suture Express asserts that defendants’ bundling terms are predatory because

they fail the discount attribution test. But, as described above, the Court cannot find on summary

judgment that defendants fail this test because fact issues preclude such a finding. The Court

also refuses to find that the fact issues attendant to this test demonstrate market power. Suture

Express cites no legal authority for that conclusion. And, as noted above, no court has applied

the discount attribution test to a non-monopolist. Defendants are not monopolists, and they



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would not benefit from excluding a rival who produces less than a full range of products because

other broadline distributors exist to compete against defendants and prevent them from raising

prices.

          Fifth, because defendants’ customers “break the bundle” infrequently, Suture Express

contends this establishes O&M and Cardinal’s market power. This fact, it contends, shows an

indirect detrimental effect on competition, thereby demonstrating market power. However, as

already explained, customers have many alternatives in this market before deciding to enter

contracts. That customers make business decisions to enter into contracts and then adhere to

their terms does not support a finding of market power.

          Sixth, Suture Express asserts that its loss of sales to defendants because of the bundling

provisions shows market power. Suture Express’ expert concluded that Suture Express’ market

share among “unrestrained customers” (i.e., those not parties to contracts containing the bundling

terms) was four to 15 times greater than its share among customers who were subject to bundling

terms, depending on the year. But, like other arguments Suture Express makes, this fact reveals

nothing more than customers adhering to their contracts’ terms after they have made the

decisions to enter into them. Suture Express cites no authority for the proposition that this fact

demonstrates market power.

          Seventh, Suture Express argues that defendants’ intent in implementing the bundling

terms was to leverage its market power and protect its business from Suture Express. See Doc.

268 at 78 (citing Chicago Bd. of Trade v. United States, 246 U.S. 231, 238 (1918) (“knowledge

of intent may help the court to interpret facts and to predict consequences”); Hahn v. Or.

Physicians’ Serv., 868 F.2d 1022, 1026 (9th Cir. 1988) (explaining the intent of defendants may

be relevant to the effect on competition)). Several of defendants’ internal documents and



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communications acknowledge that using bundling terms successfully has prevented Suture

Express from selling suture and endo distribution to their customers. But, as the Ninth Circuit

recognized in Hahn, intent is not dispositive. 868 F.2d at 1026. And, the Tenth Circuit has held

that “intent to harm a rival, protect and maximize profits, or ‘do all the business [ ] they can,’ is

neither actionable nor sanctioned by the antitrust laws.” SCFC ILC, Inc., 36 F.3d at 969 (quoting

Ball Mem’l Hosp., Inc. v. Mut. Hosp. Ins., Inc., 784 F.2d 1325, 1339 (7th Cir. 1986)). The Court

cannot find market power from defendants’ intent to protect its suture and endo business from

Suture Express’ rival business model.

       The Court concludes that none of Suture Express’ arguments establish that defendants

have sufficient market power to entitle Suture Express to summary judgment. Thus, the Court

cannot grant summary judgment for Suture Express on this element of their § 1 tying claim.

                                       ii.     Defendants’ Summary Judgment Arguments on
                                               the Market Power Element

       The Court now turns to defendants’ summary judgment arguments on the market power

element. In this analysis, of course, the Court views the facts in the light most favorable to

Suture Express, the non-moving party. And, the Court concludes that the undisputed facts, when

viewed in Suture Express’ favor, present no triable issues about defendants’ power to exclude

competition or control prices. See Westman Comm’n Co. v. Hobart Int’l, Inc., 796 F.2d 1216,

1225 n.3 (10th Cir. 1986) (explaining that an antitrust plaintiff may demonstrate market power

with evidence of either power to control prices or the power to exclude competition). Thus, the

summary judgment facts preclude Suture Express from establishing market power, and the Court

must grant summary judgment for defendants.

       As described above, the summary judgment facts describe a market rife with competitive

rivals who are growing and expanding their business while Cardinal and O&M’s market shares

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have declined or remained relatively flat. Indeed, O&M and Cardinal compete vigorously

against one another, winning and losing customers back and forth. They also compete with a

third national broadline distributor, Medline, who has grown its business significantly in recent

years. The record also includes undisputed examples of growth among regional distributors who

compete against national broadline distributors, including defendants, for acute care business.

And, at least two competitors in the non-acute care business, McKesson and Henry Schein

Medical, potentially could enter the acute care markets and compete against defendants using

their existing national distribution networks for non-acute care distribution. The parties also face

competition from manufacturers who sell directly to hospital systems that have implemented a

self-distribution strategy. All of this evidence demonstrates that defendants lack the power to

exclude competition.

       Also, the existence of a competitive rival that offers similar bundling—Medline—

forecloses defendants’ ability to exclude competition here. As Hovenkamp & Hovenkamp

explain, “if bundle-to-bundle discount competition can occur in a market, then a particular firm’s

bundled discount cannot be exclusionary unless its overall price is below its costs. Otherwise an

equally efficient firm exists that would be able to match the discounted price and earn a profit.”14

Herbert Hovenkamp & Eric Hovenkamp, Complex Bundled Discounts and Antitrust Policy, 57

BUFF. L. REV. 1227, 1231 (July 2009). Cf. Cascade Health Sols. v. PeaceHealth, 515 F.3d 883,

915 (9th Cir. 2007) (concluding that defendant possessed “substantial market power” when it

was the exclusive provider of tertiary services in the market).      Here, Medline uses similar

bundling provisions, is growing its business, and competing with O&M and Cardinal. These

undisputed facts prevent Suture Express from demonstrating any triable issues about defendants’

ability to exclude competition.
14
       Suture Express does not allege that defendants’ overall price is below its costs.

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       The record also lacks evidence of defendants’ ability to control prices. Instead, the

summary judgment facts show that O&M and Cardinal’s markups for the distribution of med-

surg products were lower, on average, in 2013 than they were in 2008. Their markups for suture

and endo distribution also were, on average, lower in 2013 than they were in 2008. Regional

distributors Seneca and MMS also experienced declines in markups, which they attributed to

competitive pressures from customers and other distributors. And, as Suture Express concedes,

competition has lowered markups for suture and endo products.

       Also, O&M and Cardinal’s profit margins have declined since 2008. Cardinal’s

operating margins for distribution-only activity have decreased by about 80% from 2008 to 2011.

O&M’s operating margins for med-surg distribution also have decreased by about 17% between

2008 and 2013. Suture Express contends that these figures are misleading because they calculate

the ratio using a figure that includes the value of the product distributed, thereby understating the

margins. Suture Express asserts that the more appropriate figure to examine is the distribution

services margin. But both O&M and Cardinal’s distribution services margins also declined

during this time period. The margin for Cardinal’s distribution services (which is roughly seven

to eight times greater than its operating margins) decreased by about 75% between 2008 and

2013; and O&M’s margin (which is about 10 to 11 times greater than its operating margin)

decreased by about 8% between 2008 and 2013.15 This decline in markups and margins shows

that defendants lack the ability to control prices.

       The summary judgment record also establishes that acute care customers are

consolidating, thereby forming larger and larger hospital systems. While Suture Express argues

that no causal relationship exists between customers’ consolidation and lowered prices in the


15
       The sealed version of this Memorandum and Order contains specific data for defendants’ profit
margins described in the above paragraph. See supra n.11.

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market, several med-surg distributors, including Suture Express’ CFO, testified that

consolidation has increased customers’ buying power and created a very competitive

marketplace. The evidence of customer consolidation in a competitive market with declining

profits also demonstrates that defendants lack the power to control prices.

       Under these facts, no reasonable jury could conclude that defendants have the power to

exclude competition or control price. Instead, the undisputed facts demonstrate a market where

O&M and Cardinal compete vigorously against Medline, certain regional distributors, and each

other. And, after three or four years, O&M and Cardinal can retain only about half of their acute

care customers. These facts preclude any triable dispute about defendants’ market power. See In

re Wireless Tele. Servs. Antitrust Litig., 385 F. Supp. 2d 403, 471 (S.D.N.Y. 2005) (granting

summary judgment for defendants because plaintiff failed to present evidence raising a question

of fact that any one of the defendants had sufficient market power to force a tie when

“defendants compete against each other in terms of service and price” and “the high churn rate is

striking evidence of their respective lack of control over the market and the impediments each of

them faces to any effort to control price”).

       Because the summary judgment facts fail to present a triable issue about market power—

one of the required elements for proving a tying claim—Suture Express’ Sherman Act § 1 claim

fails as a matter of law. Consequently, the Court must grant summary judgment for defendants.

               2. The Summary Judgment Facts Fail to Establish Harm to Competition or
                  an Antitrust Injury.

       Defendants argue that they also are entitled to summary judgment against Suture

Express’ Sherman Act § 1 claims for another, independent reason—Suture Express cannot

establish an antitrust injury. The Court agrees.




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       A plaintiff asserting an antitrust claim must establish an antitrust injury, as the Sherman

Act defines this term. Cohlmia v. St. John Med. Ctr., 693 F.3d 1269, 1280 (10th Cir. 2012)

(quoting Tal v. Hogan, 453 F.3d 1244, 1253 (10th Cir. 2006)). “‘The primary concern of the

antitrust laws is the corruption of the competitive process, not the success or failure of a

particular firm’ or individual.” Id. (quoting Tal, 453 F.3d at 1258). Therefore, the antitrust laws

require a plaintiff to demonstrate “‘an injury of the type the antitrust laws were intended to

prevent and that flows from that which makes defendants’ acts unlawful.’” Id. (quoting Tal, 453

F.3d at 1253).

       Here, Suture Express argues that it has demonstrated an antitrust injury because

defendants’ bundling terms have prevented customers from purchasing suture and endo

distribution from it. As a result, Suture Express contends, customers are denied Suture Express’

superior service and higher fill rates and, in some cases, lower prices. Suture Express asserts

that, but for defendants’ conduct, it would have won more customers and experienced greater

growth. At oral argument on the summary judgment motions, Suture Express emphasized that it

offers a superior product—“a better mousetrap.” That is, Suture Express contends that its

overnight delivery of suture and endo products by air is a more efficient distribution method.

And, Suture asserts that customers should have access to it.

       But the antitrust laws are not designed to protect competitors like Suture Express; instead,

those laws were enacted to promote competition so that market participants could decide who

had “a better mousetrap.” See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488

(1977) (stating that the “antitrust laws . . . were enacted for the protection of competition not

competitors” (citation and internal quotation marks omitted)); Reazin v. Blue Cross & Blue

Shield of Kan., Inc., 899 F.2d 951, 960 (10th Cir. 1990) (explaining that a challenged practice



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must adversely impact competition, not just an individual competitor or plaintiff’s business).

Thus, Suture Express must show harm to competition, not just harm to Suture Express. See

Cohlmia, 693 F.3d at 1281 (“‘An antitrust plaintiff must prove that challenged conduct affected

the prices, quantity or quality of goods or services, not just his own welfare.’” (quoting Mathews

v. Lancaster Gen. Hosp., 87 F.3d 624, 641 (3d Cir. 1996)).

       The Supreme Court has described raised prices and reduced output as the “hallmarks of

anticompetitive behavior.” NCAA v. Bd. of Regents, 468 U.S. 85, 113 (1984). Neither one exists

here. The summary judgment facts, when viewed in Suture Express’ favor, fail to demonstrate

raised prices. Instead, as described above, the facts show declining markups for many

competitors in the market—including both defendants, certain regional distributors, and Suture

Express. The facts also show that defendants experienced declining margins. The record also

contains evidence from med-surg distributors, including Suture Express’ CFO, about competitive

pressures in the marketplace that have produced pricing decreases.

       The record also lacks admissible evidence of reduced output. Instead, rival national and

regional competitors are growing and expanding their businesses. And, even Suture Express’

expert calculated that industry-wide med-surg (including suture and endo distribution) revenues

increased year-over-year during the relevant period. These summary judgment facts prevent a

reasonable jury from inferring harm to competition, even when viewed in the light most

favorable to Suture Express.

       Suture Express argues that the Court should not examine the harm to competition by

examining historical prices or output in the market. Instead, Suture Express asserts that it has

demonstrated anticompetitive harm through its expert’s analysis which shows that prices are

higher than they would be but for the defendants’ contracts containing bundling terms. And,



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Suture Express contends, customers paid these higher prices while suffering lower fill rates.

Professor Elhauge estimates that customers paid higher prices, amounting to $36 million from

2007 to 2012. To calculate this figure, Professor Elhauge compared the average of defendants’

markups on suture and endo distribution overall to Suture Express’ markups overall. Defendants

argue that by limiting the analysis to these firms, Suture Express fails to show that market-wide

prices were higher and quality was lower than it would have been absent defendants’ bundling.

See Elec. Commc’ns Corp. v. Toshiba Am. Consumer Prods., Inc., 129 F.3d 240, 244 (2d Cir.

1997) (explaining that an antitrust violation requires a showing “of an actual adverse effect on

competition market-wide”).

       The Court agrees. The difference in price for suture and endo distribution between these

three competitors fails to show that competition is harmed across the market. As one court has

explained, “[i]f a plaintiff could generate a jury question on injury to competition simply by

asserting that his less expensive or superior product was excluded from the market, the

distinction between injury to a competitor and injury to competition would be lost.” Brookins v.

Int’l Motor Contest Ass’n, No. CIV. C96-134 MJM, 1998 WL 937242, at *4 (N.D. Iowa July 15,

1998). It is “[f]or that reason, the courts have held that the mere fact that a certain supplier is

prevented from participating in the market does not of itself show an actual adverse effect.” Id.

(citation omitted).

       Defendants challenge Professor Elhauge’s analysis for another reason, asserting that it

fails to account for the fact that acute care customers also require distribution of other med-surg

products. Professor Elhauge concedes that the theory of anticompetitive harm depends on the

harm in the tied market not being offset by a consumer surplus benefit in the tying market.

While Suture Express contends that customers would have paid less for suture and endo



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distribution but for defendants’ bundling, the analysis fails to show that prices for other med-surg

distribution would not increase if defendants omitted the contractual bundling terms and thereby

lost the benefit of efficiencies created by the bundle. See, e.g., Town Sound & Custom Tops, Inc.

v. Chrysler Motors Corp., 959 F.2d 468, 492 (3d Cir. 1992) (pointing out the flaw in plaintiff’s

logic that defendant would not raise the price of the tying product if the challenged tie-in was

prohibited; instead, in a competitive market where defendant lacked supranormal profits,

defendant would have to raise the price of the tying product “and consumers would be no better

off than before”).

       Professor Elhauge’s analysis does not present a genuine issue that the challenged practice

harmed competition in the overall market. See It’s My Party, Inc. v. Live Nation, Inc., __ F.3d

__, 2016 WL 426085, at *5 (4th Cir. 2016) (affirming summary judgment against plaintiff’s

antitrust claims and holding that the district court was not required “to accept uncritically” an

expert’s opinion “that coincidentally fit plaintiff’s precise circumstances” because “[n]o party

can expect to gerrymander its way to an antitrust victory without due regard for market

realities.”). Thus, Suture Express cannot withstand summary judgment because the facts, even

when viewed in Suture Express’ favor, fail to show a harm to competition. And without it,

Suture Express cannot establish an antitrust injury.

               3. Defendants Have Established Procompetitive Justifications for the
                  Contractual Bundling.

       Defendants also argue that, even if Suture Express could make a showing that the

challenged action has an adverse effect on competition under the rule of reason approach

described above, defendants’ pricing terms provide customers with procompetitive benefits that

are greater than any alleged anticompetitive harm. See Law, 134 F.3d at 1017 (explaining that if

the challenged conduct results in an adverse effect on competition, then “[t]he inquiry . . . shifts

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to an evaluation of whether the procompetitive virtues of the alleged wrongful conduct justifies

the otherwise anticompetitive impacts.” (citation omitted)); see also NCAA v. Bd. of Regents, 468

U.S. 85, 104 n.26 (1984) (explaining that the Supreme Court recognizes that “tying may have

procompetitive justifications that make it inappropriate to condemn without considerable market

analysis” (citing Jefferson Par., 466 U.S. at 11–12)); Grappone, Inc. v. Subaru of New England,

Inc., 858 F.2d 792, 788–90 (1st Cir. 1988) (Breyer, J.) (concluding that a tying arrangement was

lawful under a rule of reason analysis because of an “absence of serious anticompetitive impact”

and “evidence of justification”).

       Because the Court has determined that Suture Express has failed to present a triable tying

claim when it cannot establish market power or anticompetitive harm, the Court could stop short

of this argument and decline to address it. But given the case’s breadth and complexity and to

facilitate a full review on appeal, the Court elects to address this argument. See, e.g., United

States v. Microsoft, 253 F.3d 34, 94–95 (D.C. Cir. 2001) (remanding case to the district court to

consider the procompetitive justifications of a tying arrangement under a rule of reason analysis).

And, for the reasons explained below, the Court agrees with defendants.

       Defendants argue that the contracts’ bundling terms benefit customers because it is more

efficient to distribute suture and endo products with other med-surg products, and defendants can

pass the savings from those efficiencies on to customers. Indeed, as Areeda and Hovenkamp

explain, “tying doctrine and antitrust policy do not condemn the defendant who [sells packaged

products and] merely passes on [the] cost savings [from the package] because this “improve[s]

customer welfare immediately, tend[s] to increase sales and profits and thereby encourage[s]

cost-cutting innovations, and would occur in perfectly competitive markets.” X Areeda &

Hovenkamp ¶ 1758d1.



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       Defendants recognize these efficiencies because: (1) sutures and endo products are light

weight and take up little space, and therefore little incremental cost results from adding suture

and endo to an existing distribution of other med-surg products; (2) suture and endo products are

more expensive than other med-surg products, and thus yield higher revenues for distribution

services marked up on a percentage basis of the product’s cost; (3) suture and endo

manufacturers fund distribution of their products on a higher basis than funding provided by

other med-surg vendors; and (4) suture and endo products constitute a high volume of customers’

med-surg product needs in comparison to the other categories of med-surg products.

       Customers who purchase other med-surg distribution from defendants will receive those

products from defendants by truck regardless of whether they also purchase suture and endo

products. By adding suture and endo products to the truck with the other med-surg products,

defendants realize efficiencies. They also can allocate the costs for the truck delivery that it must

incur already while generating more revenue dollars. This, in turn, allows defendants to charge a

lower mark-up on other med-surg products than they otherwise would charge for delivery of only

the lowered-priced and higher-cost med-surg products.

       Suture Express argues that the summary judgment record fails to demonstrate these

efficiencies. It contends that the efficiencies do not exist if a customer wants more frequent

deliveries of suture and endo than other med surg products. It also asserts that distribution of

suture and endo by truck creates additional, significant costs that do not exist when delivering

suture and endo by air. But defendants respond. To establish competitive benefits, defendants

say, they need not prove that their distribution model by truck is more efficient than Suture

Express’ model. Instead, defendants must demonstrate that their distribution of suture and endo

and other med-surg together produces savings compared to what they would incur if they



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distributed them separately. See Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 895 (9th

Cir. 2007) (explaining that bundling discounts “generally benefit buyers” and may produce

“savings to the seller because it usually costs a firm less to sell multiple products to one customer

at the same time than it does to sell the products individually”); see also It’s My Party, Inc. v.

Live Nation, Inc., __ F.3d __, 2016 WL 426085, at *10 (4th Cir. 2016) (describing defendant’s

bundling as a “one-stop shop” and stating that “[i]n such a case, the practice of ‘bundling

obviously saves distribution and consumer transaction costs . . . [and] can also capitalize on

certain economies of scope.’” (quoting United States v. Microsoft Corp., 253 F.3d 34, 87 (D.C.

Cir. 2001)).

        The summary judgment facts, when viewed in Suture Express’ favor, show that

defendants realize savings by adding suture and endo distribution to other med surg distribution,

thereby producing a procompetitive benefit. Defendants use the same inputs to distribute suture

and endo that they employ for other med-surg distribution. They rely on the same warehouses,

trucks, and personnel to distribute thousands of types of med-surg products (including suture and

endo). And, they experience economies of scope when they can distribute multiple products at

the same time. As described above, defendants incur very little incremental cost to add suture

and endo distribution to a customer’s existing delivery of other med-surg products. But, when

they deliver them together, defendants generate substantially more revenue because suture and

endo are more expensive products and produce higher funding from vendors.16 When that

occurs, defendants can charge lower prices for distribution of the products together. The joint

distribution of both kinds of products together produces efficiencies and thus a procompetitive

benefit.


16
        It is undisputed that vendor funding generally is paid as a percentage of the underlying product
cost. Thus, the more expensive the product, the more vendor funding it generates.

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        In contrast, if a customer does not purchase suture and endo from defendants, then they

must charge higher markups on the other med-surg products to cover the costs incurred for that

delivery. The removal of suture and endo from the order does not eliminate much cost but

results in substantially less revenue. But, defendants still incur the same costs for delivery

without the suture and endo, and thus the increased pricing on other med-surg products bears

those costs.

        Suture Express also asserts that, even if defendants realize efficiencies from their

bundling, they offer no evidence to demonstrate that they have passed any cost savings from the

bundle on to customers. But the bundling terms, themselves, demonstrate such savings. When

customers purchase suture and endo distribution along with other med-surg distribution, they

realize savings in the form of lower markups for other med surg distribution than they otherwise

would pay if they purchased other med-surg distribution without the bundle.

        Trying to neutralize the undisputed facts, Suture Express contends that the bundled

pricing terms do not reflect discounted savings to customers but instead allow defendants to

impose penalties on customers who chose to buy suture and endo from another distributor. If

that were true, defendants must increase prices artificially before discounting them. The record

contains no admissible evidence of that practice. Also, no evidence suggests that prices are

higher than they would be but for defendants’ bundling terms. And, even if they were, the

market here includes competitors (like Medline) who can prevent defendants from inflating

prices artificially.

        Suture Express also argues that defendants cannot realize efficiencies or justify

anticompetitive conduct by claiming that any anticompetitive effects in one market (suture and

endo distribution) are offset by the benefits to competition in another (other med surg



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distribution). Suture Express asserts that Eastman Kodak Co. v Image Tech. Servs., Inc.17

rejected a firm’s use of a tie to take profits from one market to cover their investment in another

market. But the material facts here are different. No evidence suggests that defendants are

taking profits from suture and endo distribution to invest in other med-surg distribution. Instead,

the summary judgment facts show that defendants realize efficiencies from selling both types of

distribution together. Thus, if customers purchase both types of distribution together thereby

producing the efficiency, defendants can offer them lower prices for other med-surg distribution.

       Providing additional support for these recognized efficiencies, other broadline

distributors offer similar bundling provisions. This reinforces the undisputed facts about the

bundle’s efficiency. Here, the summary judgment record establishes that rival distributors who

lack market power, including Medline, Seneca, and MMS, use similar bundling provisions.

They require the same types of suture and endo commitments from customers in exchange for

lower pricing on other med-surg products. As one court has observed, “firms without market

power will bundle two goods only when the cost savings from joint sale outweigh the value

consumers place on separate choice.” United States v. Microsoft Corp., 253 F.3d 34, 88 (D.C.

Cir. 2001). Some distributors also testified that when a customer orders a certain product mix

that allows the distributor to realize economics of scale, and the distributor is able to reflect those

efficiencies through lower pricing to the customer.

       Suture Express also testified that it offers discounted prices to customers who commit to

purchase a certain volume of product. These types of commitments differ from defendants’

bundling arrangements because they do not involve tying two products together, but nevertheless

they are premised on similar efficiencies. Indeed, Suture Express’ CFO testified that Suture

Express offers discounted prices for volume commitments because different cost components
17
       504 U.S. 451, 485 (1992).

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exist when a customer brings all of its suture and endo business to Suture Express instead of

“cherrypick[ing]” certain products for distribution. Doc. 303-3 at 5. Suture Express’ CFO also

agreed that the customer should pay a different price under the two different scenarios because of

the “very different” cost components involved. Id.

       As the case law cited above recognizes, bundling allows a seller to save on costs and

capitalize on economies of scope. Because of efficiencies like these, “cost-justified bundled

discounts [are] essential to the efficient operation of markets, even though such discounts may

exclude an equally efficient rival.” X Areeda & Hovenkamp ¶ 1758d1. Areeda and Hovenkamp

describe how a seller realizes efficiencies through a bundled discount in the following example:

       Consider this illustration: to drive a truck from Chicago to St. Louis costs $100,
       no matter how full the truck is. The buyer needs half a load of beans and half a
       load of corn and shipping them separately would cost $100 per shipment, but
       shipping them together costs $100 total. So the seller offers a discount of $60 if
       the buyer purchases both corn and beans and accepts them in a single shipment,
       effectively “tying” the corn and bean purchases via the discount. In this case the
       buyer profits by $60 over what separate sales from separate sellers would
       produce. The seller is $40 ahead after taking a $60 price cut but avoiding a $100
       truck trip, and the rest of society is better off because unneeded truck trips
       consume resources. Nevertheless, the policy injures a rival who sells beans but
       not corn, even if that seller is an equally efficient bean producer and has tucking
       costs that are no higher.

X Areeda & Hovenkamp ¶ 1758d1. Suture Express asserts that this example does not apply

here, where the comparison is distribution by truck to distribution by air. It argues that joint

distribution by truck does not offer a procompetitive benefit to the market when Suture Express

can distribute suture and endo more efficiently by air. But, as stated above, defendants need not

prove that their model is more efficient than Suture Express’ business model. Instead, the

procompetitive benefit realized in the market at issue here is the lower pricing offered to

customers on other med-surg distribution. Suture Express cannot match the bundle offered by




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defendants, but that is because of a decision it and it alone has made: to limit its business model

to suture and endo distribution.

        In essence, Suture Express is asking the Court to insert itself into the market and decide

which business model customers should choose when they purchase suture and endo distribution.

The Court declines. The Court’s involvement in this type of discussion could very well “lead to

an environment of commercial parochialism.” It’s My Party, Inc., 2016 WL 426085, at *13.

Actually, it could produce harm to competition. Suture Express wants the Court to enjoin

defendants from offering the bundled terms to customers. But this order, if the Court were to

issue it, would not stop other market participants like Medline, Seneca, and MMS from offering

similar bundling terms—as they do already. The Court cannot issue an order that restrains

defendants from bundling but leaves their competitors free to use them to their benefit (and to

defendants’ harm). Under these facts, it is most appropriate to let the market’s customers decide

which business model offers the most efficient distribution of their med-surg needs. See id.

(concluding that plaintiff could not employ the antitrust laws for “anticompetitive ends” and

stating that it was “sending this tussle between two rivals back to the marketplace from whence it

came”).

        Suture Express also argues that defendants cannot demonstrate procompetitive

justifications for their bundling because this practice fails the “less restrictive alternative test.”

Under this test, an antitrust plaintiff may rebut a claim that a tie is procompetitive “by showing

that the claimed function is not legitimate in principle, is served poorly by the restraint, or is

adequately attainable by substantially less restrictive means.” IX Areeda & Hovenkamp ¶

1729a; see also Law, 34 F.3d at 1019 (stating that “[i]f the defendant is able to demonstrate

procompetitive effects, the plaintiff then must prove that the challenged conduct is not



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reasonably necessary to achieve the legitimate objectives or that those objectives can be achieved

in a substantially less restrictive manner”). Here, Suture Express argues, if bundling produces

efficiencies, then the less restrictive approach to implementing that efficiency is for defendants to

lower the price of suture and endo distribution. Defendants did not take that approach, but

instead altered the price for distribution of other med-surg products. Thus, Suture Express

contends, defendants fail the less restrictive alternative test.

        Defendants respond that the less restrictive alternative advanced by Suture Express fails

to realize the efficiencies described above when defendants are able to distribute both suture and

endo and other med-surg together. If defendants discounted only the suture and endo

distribution, they would fail to cover the costs incurred for delivery to a customer who purchased

only suture and endo distribution but not other med-surg. Defendants also could not match the

bundled prices to customers who purchased both suture and endo and other med-surg, thereby

producing the described efficiencies and cost savings.

        Defendants also reject Suture Express’ suggestion that they should reverse the bundle.

That is, Suture Express asserts that the less restrictive alternative is for defendants to offer lower

pricing on suture and endo distribution in exchange for loyalty in purchasing other med-surg

products. This proposal again fails to recognize the efficiencies of distributing the products

together, which reduces the overall costs of distribution and not simply the cost of one subset of

products. Also, defendants assert that customers do not select a broadline distributor based on

one category of med-surg products. Instead, customers select broadline distributors based on

their ability to distribute across the broader line of med-surg distribution. Thus, defendants

would not offer a bundle premised on a discount of one category of med-surg products in

exchange for purchase of other-med surg because customers already go to the distributor to



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purchase their other med-surg needs. The undisputed facts, viewed in Suture Express’ favor, do

not establish that defendants could achieve the procompetitive benefits of defendants’ bundling

through a less restrictive alternative.

        The Court finds that the summary judgment facts demonstrate procompetitive benefits of

bundling, and they justify any anticompetitive effect. Thus, Suture Express cannot survive

summary judgment under a rule of reason analysis on its Sherman Act § 1 claim.

                B. Clayton Act § 3

        Suture Express also asserts that defendants’ contractual terms violate § 3 of the Clayton

Act. Section 3 of the Clayton Act prohibits “any person engaged in commerce, in the course of

such commerce, to . . . make a sale or contract for sale of goods . . . for use, consumption, or

resale within the United States . . . on the condition, agreement, or understanding that the lessee

or purchaser thereof shall not use or deal in the goods . . . of a competitor or competitors of the . .

. seller, where the effect of such lease, sale, or contract for sale or such condition, agreement, or

understanding may be to substantially lessen competition or tend to create a monopoly in any

line of commerce.” 15 U.S.C. § 14.

        Defendants seek summary judgment against this Clayton Act claim because, defendants

argue, the Clayton Act applies only to the sale of “goods, wares, merchandise, machinery,

supplies, or other commodities.” 15 U.S.C. § 14. And, it does not apply to services. See

Hudson Valley Asbestos Corp. v. Tougher Heating and Plumbing Co., 510 F.2d 1140, 1145 (2d

Cir. 1975) (explaining that “[i]t is, of course, well settled that section 3 [of the Clayton Act] does

not apply to sales of services”). Here, defendants argue, the relevant market is distribution

services, not the products themselves. Thus, defendants contend the Court must grant summary

judgment against Suture Express’ Clayton Act claim.



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       As explained above, the Court has determined that the undisputed facts establish that the

relevant product market here is distribution of med-surg products to acute care customers, not

distribution services as defendants assert. See supra n.3. And Suture Express cites several cases

in which courts have held that the Clayton Act applies to distribution agreements for physical

goods. See, e.g., W. Power Sports, Inc. v. Polaris Indus. Partners L.P., 951 F.2d 365, 1991 WL

266523, at *3 (9th Cir. Dec. 11, 1991) (unpublished table opinion) (reversing district court’s

grant of summary judgment on a Clayton Act § 3 claim and holding that the statute applied to

distribution agreements requiring distributors to purchase a certain amount of snowmobiles from

the manufacturer); see also Chelson v. Oregonian Publ’g Co., 715 F.2d 1368, 1369 (9th Cir.

1983) (holding that the Clayton Act applied to an agreement between a newspaper publishing

company and its retail distributors that prohibited the distributors from distributing advertising

inserts for another company because the agreement provided that that distributors would

purchase goods and resell them); see also X Areeda & Hovenkamp ¶ 1752f2 (explaining that the

Clayton Act applies even when “services [are] embodied in corporeal goods” and “[w]hen the

item sold is a physical product from which buyers derive value, it should be considered a

commodity”).

        Defendants distinguish these cases because they involve the traditional purchase and

resale of goods but do not discuss prices that customers pay for distribution services, as

customers of med-surg distribution pay in this case. Indeed, Suture Express’ expert opined that

the relevant product market here is the market for distribution services, not the physical items

themselves. He also based his analysis on that market definition. Though defendants seem to

have the better end of this argument, the Court concludes that it need not decide this issue to

determine the viability of the Clayton Act claim. Even assuming that the Clayton Act applies to



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the med-surg distribution at issue here, Suture Express’ claim fails for the same reasons

described above in the context of the Sherman Act.

       Suture Express asserts that the economic effect of defendants’ bundling terms makes

them exclusive contracts that violate § 3. Thus, Suture Express’ claim under the Clayton Act

mirrors its tying claim under § 1 of the Sherman Act. And, “the standard for adjudicating tying

[under Sherman Act § 1 and Clayton Act § 3] are now recognized to be the same.” Sheridan v.

Marathon Petroleum Co., 530 F.3d 590, 592 (7th Cir. 2008) (citing Southern Card & Novelty,

Inc. v. Lawson Mardon Label, Inc., 138 F.3d 869, 874 (11th Cir. 1998); Town Sound & Custom

Tops, Inc. v. Chrysler Motors Corp., 959 F.2d 468, 495–96 (3d Cir. 1992) (en banc); Smith

Mach. Co. v. Hesston Corp., 878 F.2d 1290, 1298–99 (10th Cir. 1989)); see also IX Areeda &

Hovenkamp ¶ 1719b (explaining that although the words of Sherman Act § 1 and Clayton Act §

3 “differ, the two statutes apply a single substantive standard”). Thus, for the same reasons

explained in the analysis for Suture Express’ Sherman Act claim, defendants are entitled to

summary judgment against Suture Express’ tying claim under § 3 of the Clayton Act.18

               C. Kansas Restraint of Trade Act

       Finally, Suture Express and defendants both move for summary judgment on Suture

Express’ claim under the Kansas Restraint of Trade Act. The KRTA “is broad in scope” but case

law under the Act is “largely undeveloped” and “the bulk of [the Act’s] provisions have not been

meaningfully interpreted by Kansas courts.” O’Brien v. Leegin Creative Leather Prods., Inc.,

277 P.3d 1062, 1068 (Kan. 2012) (citing Bergstrom v. Noah, 974 P.2d 520, 530 (Kan. 1999)).

The Kansas Supreme Court has noted that the KRTA and federal antitrust laws share some

similarities, but “they are not, in fact, the same.” Id. (citing Bergstrom, 974 P.2d at 531).

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        And, for the same reasons explained above when discussing the Sherman Act claim, the Court
denies Suture Express’ summary judgment motion on its Clayton Act claim.


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Federal antitrust law may supplement the remedies available under this Kansas law, but it does

not displace the substantive antitrust provisions of the KRTA. Id. Therefore, “[w]hile . . . cases

[interpreting federal antitrust statutes] may be persuasive authority for any state court

interpreting [Kansas’] antitrust laws, such authority is not binding upon any court in Kansas

interpreting Kansas antitrust laws.” Bergstrom, 974 P.2d at 531.

           K.S.A. § 50-112 prohibits all agreements or contracts “made with a view or which tend to

prevent full and free competition in the . . . sale of articles imported into [Kansas]” and those

“designed or which tend to advance, reduce or control the price . . . of any such products or

articles.” In O’Brien, the Kansas Supreme Court held that K.S.A. § 50-112, in its form on the

date of that opinion,19 omitted any mention of reasonableness, or a rule of reason. 277 P.3d at

1079. The Kansas Supreme Court thus held that the statute “leaves no room” for applying a rule

of reason approach, and held that “reasonableness does not set the antitrust violation standard in

Kansas . . . .” Id. at 1083. Given this holding, the Court cannot simply apply its federal analysis

to decide whether the KRTA claim survives summary judgment.

           Instead, the Court begins its analysis of the KRTA claim with the requirement of antitrust

injury. While this requirement originates in “federal antitrust jurisprudence,”20 it undoubtedly

plays an important role under the KRTA. As the Kansas Supreme Court explained in O’Brien,

the antitrust injury requirement “equates to the Kansas concept of causation, or the ‘requirement

that a plaintiff’s theory of damages … correspond[s] to an economic effect that the statute …


19
         The Kansas legislature enacted “substantial changes” to the KRTA after the Kansas Supreme
Court’s opinion in O’Brien. Smith v. Phillip Morris Cos., 335 P.3d 644, 652 (Kan. Ct. App. 2014). The
amendments to the KRTA went into effect on April 18, 2013, but generally do not apply retroactively to
cases already pending at the amendments’ effective date. Id. (citing K.S.A. § 50-164 (Supp. 2013))
(further citation omitted). Because this case was filed before the 2013 effective date of the KRTA
amendments, the current version of the KRTA does not apply to this case.
20
     O’Brien, 277 P.3d at 1075 (citing Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)).

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invoked as the basis for liability aims to prevent.’” 277 P.3d at 1075 (quoting Ronald W. Davis,

Standing on Shaky Ground: The Strangely Elusive Doctrine of Antitrust Injury, 70 Antitrust L.J.

697, 698 (2003) (first ellipsis in original)). O’Brien illustrates how Kansas law applies this

requirement, whether one thinks of it as antitrust injury or damages causation.

       In O’Brien, a class of retail consumers who had purchased a particular brand of fashion

accessories and luggage from retail stores sued the products’ manufacturer. This class claimed

that the manufacturer had violated the KRTA by adopting a pricing policy “suggesting” retailers

should sell its products at “keystone,” which was “twice wholesale plus a small amount that

varie[d] by product.” Id. at 1068. The manufacturer also shipped its products to retailers tagged

with a “manufacturer’s suggested retail price (MSRP).” Id. And while the manufacturer

characterized its policy merely as “suggested pricing,” id., the summary judgment facts

established that:

              the manufacturer required its retailers to initial and sign an
               acknowledgment that violating the pricing policy was
               “grounds for dismissal” from selling the products at retail;

              while never “systematic[ally]” or “comprehensive[ly]” monitoring
               compliance with this pricing policy, the manufacturer
               “occasionally enforced” it by refusing to deal with retailers who
               sold its products at discounted prices; and

              the pricing policy had increased the price that the plaintiff class of
               retail buyers had paid to purchase the products.
Id. at 1068–70.

       These summary judgment facts sufficed, the Kansas Supreme Court held, to permit a

reasonable jury to find that the plaintiff class “actually [had] paid prices for [the manufacturer’s

goods that were] inflated by its pricing combinations or arrangements with retailers.” Id. at 1078

(emphasis added). The Kansas court deemed these facts sufficient to avoid summary judgment

because the KRTA requires a plaintiff seeking to recover under this act to “come forward with
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evidence that [the plaintiff] has been injured or damaged by” conduct that the KRTA renders

illegal. Id. at 1077. But O’Brien also held that not just any kind of injury will do. A KRTA

plaintiff also must seek to recover for “an economic effect that the [KRTA] aims to prevent.” Id.

at 1075. The Kansas court concluded that the manufacturer’s policy had caused retail customers

to pay an inflated price, and this was sufficient to support a finding that the claimed damages met

both aspects of the KRTA’s requirement for antitrust injury/damage causation. Id. at 1078. The

Kansas Supreme Court thus reversed the trial court’s decision granting summary judgment. Id.

        Close attention to O’Brien’s rationale focuses the analysis on the very facts that make

summary judgment appropriate here. The summary judgment facts in this case establish a

market where both defendants, many regional broadline competitors, and even Suture Express

are experiencing declining prices and declining markups. See supra Part III.A.2. Such declines,

though bad news for defendants, Suture Express, and other participants in the distribution

market, actually are good news for acute care providers who purchase distribution from them.

These declining prices also are good news for patients who pay the bills issued by those acute

care providers.21

        Offering discounts to customers does not inflate prices—the condition that O’Brien held

to satisfy the requirement that the claimed harm must be one that the KRTA “aims to prevent.”

To the contrary, price discounts give customers who choose to subscribe to them the chance to

purchase at deflated prices. This kind of market condition provides no basis for a reasonable

jury to find the kind of “economic effect” that the KRTA “aims to prevent.” 277 P.3d at 1075.

In short, the summary judgment facts preclude the possibility that Suture Express can satisfy the


21
        Also, the summary judgment record contains no admissible evidence of reduced output. Rival
national and regional competitors are growing the distribution market. Even Suture Express’ expert
calculates that industry-wide revenue figures for med-surg distribution had increased, not decreased,
during the relevant period. See supra Part III.A.2.

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KRTA’s requirement of antitrust injury/damages causation. This makes summary judgment

appropriate.

       In addition, the summary judgment facts fail to show that defendants’ contracts were

“made with a view,” “designed to,” or “tend to” prevent full and free competition, as the KRTA

requires. O’Brien explained that “it is enough [for a plaintiff] to show that the arrangement is

‘designed to’ or ‘tends to’ control prices . . . a plaintiff does not have to show that the

arrangement actually succeeds in increasing prices.” 277 P.3d at 1075. Also, “the phrase

‘designed to’ contemplates a subjective standard [while] ‘tend to’ contemplates an objective

standard, one that requires examination of the defendant’s behavior to discern whether it would

reasonably be expected to produce a particular result, regardless of the defendant’s intention.”

Id. at 1075–76. Suture Express cites various documents where defendants discussed, separately,

their use of bundling contract terms to defend against Suture Express taking defendants’ suture

and endo distribution business. But no reasonable jury could find that these communications

show that the contracts were designed to prevent full and free competition. To the contrary, a

reasonable jury only could find that these communications reveal competitors engaged in the

activity that the KRTA seeks to promote—trying to meet and counter the effects of competition

that Suture Express’ innovative business model brought to the market. If the Court were to view

these communications sufficient for a jury to find conduct intended to prevent full and free

competition, every attempt by one competitor to gain business from a rival would require a trial

under Kansas’ antitrust laws. The Court does not understand the Kansas Supreme Court’s

interpretation of the KRTA to require such a result.

       Even under the broadest permissible view of the KRTA and viewing all evidence in the

light most favorable to Suture Express, the summary judgment record lacks evidence that



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defendants’ contracts were designed to or tend to harm competition. To the contrary, Suture

Express cannot demonstrate harm to competition sufficient to survive summary judgment on its

KRTA claim.

       And, for the same reasons, the Court denies Suture Express’ summary judgment motion

on its KRTA claim because it cannot establish harm to competition, especially when the Court

views the evidence in the light most favorable to defendants, as it must when considering Suture

Express’ summary judgment motion.

       IV.     Conclusion

       This case exposes the rough-and-tumble business of competition in the American

marketplace. In 1998, Suture Express launched an innovative business model designed to

capture the most lucrative channel of med-surg distribution. It worked. By 2010, Suture Express

had managed to capture a 10% share of that lucrative market segment, suture and endo

distribution. Defendants and other broadline distributors didn’t like losing that market share to

Suture Express, so they did what motived competitors do. They fought back with their own

pricing innovation—pricing designed to recapture those lost suture and endo customers. Their

innovation worked as well, and it cost Suture Express some of the customers it originally had

taken from broadline distributors, including defendants.

       The next move in this competitive saga belongs to the market’s participants—Suture

Express, defendants, other distributors, acute care providers, and other innovators who, as Suture

Express once did, can come up with a new idea that customers may fancy. But the Court can

find nothing in our antitrust laws that assigns a role, on these summary judgment facts, to the

courts. Therefore, the Court grants summary judgment for defendants on all three claims

asserted by Suture Express.



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       IT IS THEREFORE ORDERED THAT defendants Owens & Minor Distribution, Inc.

and Cardinal Health 200, LLC’s Motion for Summary Judgment (Doc. 253) is granted.

       IT IS FURTHER ORDERED THAT plaintiff’s Partial Motion for Summary Judgment

(Doc. 254) is denied.

       IT IS SO ORDERED.

       Dated this 7th day of April, 2016, at Topeka, Kansas

                                                 s/ Daniel D. Crabtree
                                                 Daniel D. Crabtree
                                                 United States District Judge




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